           Atkins        (Dunn)                                                                                83




       1                       all    my questions.


       2                                   THE WITNESS:             Yes,    sir.     Your       turn.


       3                                             EXAMINATION


       4   BY    MR .    DUNN :


       5                       Q           Trooper Atkins,            in    investigating          the


       6   accident,           you determined           that    a    tractor was         towing another


       7   tractor,           correct?


       8                      A            Yes,    sir.


       9                       Q           And one of      the       tractors      was     owned by SMC


      10   Transport           LLC,    correct?


      11                      A            Yes,    sir.


      12                       Q           And    the   other       tractor,       the    one    that    was


      13   being        towed,       was   owned by Salinas               Express,       correct?


      14                       A           Yes,    sir.


      15                       Q           And you      said that          you got       a personal       note


      16   or a personal message                   to give      somebody a call             about       three


      17   or    four        days    later?


      18                      A            Approximately three or                  four days       later,


      19   yes,       sir.


      20                       Q           What do you mean by a personal                        message?


      21                       A           Whenever someone wants                  to speak with me,


      22   they call           our dispatch and say,                 "I    need to       speak with


      23   Trooper Atkins . "               They give me or dispatch their number.


      24   And    I     --    when I mark on duty the next                    day or whatever day




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           Atkins        (Dunn)                                                                                         84




       1   it was,        I    get    a direct message                        to my terminal              saying,    "You


       2   need    to     call       this       person"             with the name             and phone       number.


       3                       Q            Is          that    direct             message    something you          see


       4   electronically on                    a       screen?


       5                      A             Yes,             sir.


       6                       Q            Is          that    direct             message    kept       anywhere,


       7   stored        anywhere?


       8                       A            I       believe             so.


       9                       Q            As          far as you know,                   it's    still    somewhere


      10   that    can        be    accessed?


      11                       A            Should be,                   yes,       sir.


      12                       Q            Have you                accessed or retrieved                   that


      13   direct message you just talked about,                                            a copy of       it?


      14                       A            That             day of?           I had it       and I       have not


      15   looked at           it    since          I    called her.


      16                       Q            Do you still                      have    it?


      17                       A            No,          I    don't.           I    can    look    it up probably.


      18   I   don ' t    know .       I    can          call       dispatch and             see    if    they can


      19   look    it     up.


      20                       Q            But          as    far as what you have                      right now in


      21   your possession,                 you don't have that direct message either

      22   electronically or                    in paper                form?


      23                       A            No,          sir,       I    do not.


      24                       Q            So the direct message you are talking




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           Atkins      (Dunn)                                                                                85




       1   about      right      now is      from your memory?


       2                    A            And me making a phone                   call,      yes.


       3                     Q           And making a phone call?


       4                    A            Which,    I    guess,          is memory.


       5                     Q           The    direct message,                did    it have      a phone


       6   number      to    call?


       7                    A            Yes,    sir.


       8                    Q            Do you    recall          that phone         number?


       9                    A            No,    sir.


      10                     Q           How about          the   area        code,    do you recall


      11   the    area      code?


      12                    A            No,    sir.


      13                    Q            And did that             direct message have a name


      14   on    it   for you       to   call?


      15                    A            I   believe        so.     I    do    not    recall    that.


      16                     Q           All    right.        When you          dialed that number,


      17   did you ever get a name of a person that you were talking

      18   to?


      19                    A            I   believe        so.     I    just    don't      recall    it.


                                         And I understand somebody asked you.                               You
      20                     Q


      21   didn't      take down any notes of your conversation,                                   did you?


      22                    A            No,    sir.


     23                      Q           You mentioned something about somebody

      24   being a       regular driver.               Is    it possible             that   it could have




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           Atkins       (Dunn)                                                                                     86




       1   been a Salinas                --       reference         to a Salinas             Express   Company


       2   as    opposed       to    SMC          Transport?


       3                   A                  I    believe      she       said Martinez.


       4                   Q                  Said Martinez?


       5                   A                  Yes.       Yes,       sir.


       6                   Q                  Right.          But    is    it    possible       that   she was


       7   referring       to       Salinas            Express       rather       than SMC       Transport?


       8                   A                  It ' s   possible .


       9                   Q                  So as you sit               here    today,       you're not    sure


      10   whether      it was           SMC Transport               she was          referring    to or


      11   Salinas      Express?


      12                   A                  All      right.        Actually,          go back.


      13                   Q                  Okay .


      14                   A                  She      said    that       she    is    the    owner of   SMC and


      15   Mr.    Martinez          is    a       daily driver            for    SMC.


      16                   Q                  For      SMC?


      17                   A                  SMC.


      18                   Q                  My question was               --


      19                   A                  Yes,      so    it's    SMC.        I    guess no possibility


      20   that    it   was     for Salinas.


      21                   Q                  Okay.          And when you             talked to this       lady,


     22    she said that Mr.                      Martinez,         Jr.,    had no permission to

      23   drive    this       particular tractor,                        correct?


      24                   A                  On    that      day.




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           Atkins   (Dunn)                                                                                   87




       1                  Q            On    that    day?


       2               A               Yeah.


       3                  Q            Did she qualify and say                      "that day"    or


       4   she      did       she   say


       5                  A            She    said at       the       time   of     the   crash that         he


       6   wasn't   supposed to be driving the vehicle.


       7                  Q            Okay.


       8                  A            And    then          sorry.



       9                  Q            Now,    as    far as       whether          he had permission


      10   to drive    or not,         that's       all    you recall         her     telling you;           is


      11   that   right?


      12                  A            And the       fact       that    they didn't have


      13   insurance      on    the    truck.


      14                  Q            Do you know if             there       is    an audio


      15   recording of         that      conversation?


      16                  A            There    is    not.


      17                  Q            And you said that                lady said she was              the


      18   owner of    SMC      Transport?


      19                  A            I believe          so.     Owner/representative with


      20   SMC.


      21                  Q            Well,    as    you       sit    here    today,      you   are    not


      22   sure the lady that answered the phone call that you made,

      23   the lady that answered,                  you are not sure whether she said

      24   she was owner or some type of                        representative?




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           Atkins       (Dunn)                                                                                     88




       1                     A         She    was     a    representative.


       2                     Q         Okay .


       3                     A         I'm not        for certain         if          she    was   an owner


       4   or    what .


       5                     Q         Okay.         So you can't         go beyond that                     she


       6   was    a representative.              You can't         get any more detail                        than


       7   that,       correct?


       8                     A         No,    sir.


       9                     Q         You agree with me?


      10                     A         Yes,     sir.


      11                     Q         You    said you made             the       call       from your         area


      12   headquarters?


      13                     A         Area     39    office,      yes,       sir.


      14                     Q         So it was on a phone                   that          is    in the name


      15   of    the    area     headquarters         there?


      16                     A         Yes,     sir.


      17                     Q         When you made             that    call,          is       there   a


      18   caller       ID   screen    that     you       can   see?


      19                     A         I    don't     believe      so.        I       have       only been


      20   called my cell phone from that number before,                                          and it just

      21   has    the     number.      It    doesn't        have         so       I    don't       know how        it


      22   is    on a     house     number.


     23                      Q         Do you know if              those particular phone


     24    calls       are   kept          recorded        somewhere,         like          the phone         --




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           Atkins    (Dunn)                                                                               89




       1   the    actual       number that's been called or dialed?


       2                   A           I 'm   not    sure .


       3                   Q           Do you know how long                 that    conversation


       4   lasted that          you had with that             lady?


       5                   A           No,    sir.     Approximately --              if    I had to


       6   guess,    it    would be      five minutes,              four minutes.


       7                   Q           Did you have           any conversation with


       8   anybody else          who   said they were associated                    in    any way with


       9   SMC    Transport?


      10                   A           No,    sir.


      11                   Q           Do you know whether                 Israel    Martinez          ever


      12   said he was driving for anybody,                         any particular company or


      13   not,    in your       investigation?


      14                   A           No,    sir.


      15                   Q           Do you know whether,                 in your


      16   investigation,           whether it was            Israel Martinez,             Jr.,    said


      17   whether or not           he had permission or not to drive that


      18   tractor?


      19                   A           No,    sir.


      20                               MR.    DUNN:      All       right.        Thanks    for your


      21                   time .


      22                               THE WITNESS:               Yes,    sir.


      23                               MR.    FRANKL:         I    just    have a couple          of


      24                   follow-ups .




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           Atkins       (Frankl)                                                                                       90




       1                              THE       WITNESS:           Yes,       sir.


       2                                          EXAMINATION


       3   BY    MR .   FRANKL :


       4                   Q          If your disk             is    full       in your             car,   does        it


       5   automatically shut              off?


       6                   A          It    ends    on    that       disk.


       7                   Q          Okay.        But    --       you have          to    then physically


       8   put    in another       disk?


       9                   A          The way it works                   is    if    the       --    say that


      10   the    --    my disk only allows              like       three hours,                I    think.


      11   With it being two hours,                 it gets to the end of                            that disk,


      12   it    keeps     recording.           But when       I    eject       it,       it    stops       right


      13   there on        that    disk of       where    it       got    full       at.        And    then       on


      14   the    other disk,        it    will    have    the       little ending of                      it.     So



      15   there's        a possibility of          the remaining part that                            I    spoke


      16   to Mr.       Martinez.


      17                    Q         May be on another disk?


      18                   A          Yes .


      19                    Q         Will you agree                to check to see                   if    the


      20   remaining        --


      21                   A          If    I       if    it's       still          available                if


      22   that disk is still available from six months ago.

      23                    Q         But       if you can find it,                   you will take a


      24   look     for    it?




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           Atkins        (Frankl)                                                                                              91




       1                   A           Yes .


       2                   Q           And will                 you       also    try      to        take   a    look     for


       3   whatever


       4                   A               Phone          number?


       5                   Q               --    dispatch message                      they gave you?


       6                   A               I'm going to go out                         to my car and do it.


       7                      Q            Will          you    agree       to    call          me


       8                   A               Of    course.


       9                      Q                  call          me    and    let       me    know?


      10                   A               Yes .



      11                      Q            You       have       got       my phone          number?


      12                   A               I    believe             so.     I put          it    in my phone             last


      13   time .


      14                      Q            And       I    will       let    everybody know as                         soon as


      15   he   calls.


      16                                   You       indicated in answer to one                                  of


      17   Johneal 1 s        questions,             she asked was                the       SMC          tractor


      18   blocking        at      least       the       whole       right-hand             lane.           And you          said


      19   "yes . "      Do       you have       any knowledge                   of    how       far       the    SMC


      20   tractor was             into the travel portions of                                  the right-hand


      21   lane     of    Interstate            81?


      22                      A            I    do not          know for          certain.


      23                      Q            Okay.           And there's a conversation on your


      24   audio      with        Flowers       where          you    say,       "Should             I    write       this    up




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           Atkins        (Frankl)                                                                                           92




       1   as    one     accident             or    two    accidents?"                And he        said,       "You


       2   could make              the    decision          to write             it    up    as    one   or     two based


       3   on the        timing          of    the    accidents."                    And you       basically chose


       4   to write           it up       as       one?


       5                      A                Yes,       sir.


       6                       Q               And,       in fact,          none of          the    four witness


       7   statements              say anything about                      the       SMC tractor blocking or


       8   being        out    onto       Interstate             81       travel       lanes,       do   they?


       9                      A                Witnesses,             no.        From       the    three       women


      10   the    four        women,          no.


      11                       Q               Right,       from          the    four women.


      12                                       And then were you                      --    when you said this


      13   is    at     least       on    the video,             "This          is    your    logbook;          I   don't


      14   need to        see       that,"          is that when you were having that


      15   discussion              next       to    the    SMC    truck?


      16                                       MR .   DUNN :          I    will       object       to    the    form of


      17                       the       question.


      18                                       Go ahead and answer.


      19                                       THE WITNESS:                 No,       that was          in my car.


      20   BY    MR .    FRANKL :


      21                       Q               Okay.        That          was    in your car?


      22                      A                I    believe       so.


      23                       Q               Okay.        Was this conversation you had


      24   outside        the SMC             tractor that you made reference                                  to




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           Atkins    (Frankl)                                                                              93




       1   earlier,    to your knowledge,                    is    that    recorded on the disc?


       2                   A           Yes,      that       was,    I believe,          when I    was


       3   looking    at       his   truck      to    see    the    damage.


       4                   Q          You       think that's          on    there?


       5                   A           I   believe          so.


       6                   Q          And who were you talking to when that


       7   took place?


       8                   A          Martinez .


       9                   Q          Was       there       anyone    else      around?


      10                   A           I   believe Trooper                Flowers.


      11                               MR.      FRANKL:           That's    all    I    have.


      12                               Trooper,         you have          the   right     to    read and


      13                   sign this         deposition to make                  sure    that    the    court


      14                   reporter        took down everything you                      said,    or you


      15                   can waive         that      right       and allow the          court


      16                   reporter        to    sign       for you.


      17                               THE      WITNESS:           Do you       think you got


      18                   everything?               Yeah,    that's       fine.


      19                   (The deposition concluded at                         3:13    p.m.)


      20


      21


      22


      23


      24




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                                                                                                               94




       1                                    CERTIFICATE



       2   COMMONWEALTH             OF    VIRGINIA


       3   CITY       OF   ROANOKE


       4                   I,     MARY J.    BUTENSCHQEN,          RPR,      Notary Public             in and


       5   for       the   Commonwealth of Virginia,                    at   Large,       do hereby


       6   certify that             the    deposition    of       MICHAEL          T.   ATKINS       was by me


       7   reduced to machine                shorthand       in    the presence            of    the


       8   witness,             afterwards    transcribed by me                by means         of


       9   computer,             and that    to the best          of my ability the                  foregoing


      10   is    a    true       and correct    transcript          of       the    deposition so


      11   given as             aforesaid.


      12                    I    further    certify that          this       deposition was            taken


      13   at    the       time and place specified in the                         foregoing caption.


      14                    I    further certify that             I am not a relative,


      15   counsel         or attorney for either party,                       or otherwise


      16   interested in the outcome of                      this       action.


      17                    IN WITNESS WHEREOF,          I    have hereunto               set    my hand at


      18   Roanoke,             Virginia,    on the 29th day of April                     2016.


      19


      20


      21                                                MARY       J.    BUTENSCHOEN,            RPR
                                                        NOTARY          PUBLIC

      22
           My Commission expires May 31, 2016
      23   Notary Registration Number 228402


      24




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      Revised Report O                                                                                                            Police Crash Report                                                                                              P' Page J                                  of 7
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      CRASH                                                                                                                                 3      It     I-          l4        6        9        4l       5l       0                  (7      3                  8 1 1 1 0                   6           "j       5
      Crash         MM       Dt)                 YYYY         Day ofWaek               MIUTARY Time (21 hr clock)                      County of Crash                                                                    Official DMVUso
      Dnla
              10/26/2015 j                                    Monday                   05:15                                           BOTETOURT COUNTY
                                            City or Town Name                                                                         | Landmarks at Scana                                                                   153055221
      O City of
      C y Town of
      Location of Crash (route/street)                                                                                                 Railroad Crossing ID no. (if within 100 ft.)                                          Local Case Numbor

      INTERSTATE 81                                                                                                                                                                                                       DIV61 51 29246
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      O At Intorsoction With or                               ^ Miias ?root O0O O of ROUTE 606                                                                                                                               1         5      $                 10                 3

                                                                                       1                                                                                                                          VEHICLE# |2                               |
     DRIVER                                                                                           IJilvnr Pled Scono                     O                      DRIVER                                                                                       Driver Flod Scono                Cl ')
      Driver's Nonio (Last, First, Middle)                                                                                                       Gendor             Driver's Name (Last, First, Middlo)                                                                                                 Gendor

    MARTINEZ JR, ISRAEL
     AddTassiStVoarandNTunlmr)
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      Safoty Equip. Used                     Air Bug Ejected [Dote of booth                                    injury Typo EMS Transport                            Safely Equip. Used            Air Bag [Ejected                 bate of Death                    injury Typo           EMS Transport

              3                              2            1                     III)       I YYYY               6                     CD                                   8                       2            3                 MM       | _D0                      2                   m <s>
      Summons                i               Offenses Charged to Driver                                                                                             Summons                        Offenses Charged to Driver
      Issued As                  a                                                                                                                                  Issued As            U
      Result of Crash        ! 1             46.2-852                                                                                                               Result of Crash      r~

     VEHICLE                                                                                                                                                    VEHICLE
      Vehicle Owner's Name (Last, First, Middlo)                                                                         Same as Driver                             Vehicle Owner's Namo (Lost, First, Middlo)
    SMC, TRANSPORT, LLC                                                                                                                                             LESTER, BRANDON, CLARK
      Address (Street and Number)                                                                                                                                   Address (Street arid Number)

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ll/j Nome of fniurod (Lost, First. Middle)                                                        i EMS Transport I Doto of Death                                   Name ol Iniurod (Last, First, Middle)                                                          EMS Transport ] Date of Death

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        Name of Injured (Last, First, Middle)                                                     J EMS Transport j Data of Death                           1       Name of Injured (Last, First, Middle)                                                          EMS Transport Date of Death

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        Position                 Safety                 Airbag / Ejoctad      Injury Typo                 Birthdato                             Goiulor             Position                 Safety             Airbag Ejactad Injury Type                       Blrthdeta                              Gender
       In/On                     Equip                                                                                                                              In/On
      .Vehicle                   Usod                                                                 MM | 1)1)      L       \YYY           <&> <d                  Vphiclq.                                                                                     IVl Yl 1 JLi 1 V) YY               <S> CD
       Codes                                POSITION IN/ON VEHICLE                 SAFETY EQUIPMENT USED                                         AIRBAG                                          EJECTED FROM VEHICLE                         INJURY TYPE
                                            I.      Driver                         1. Lap Belt Only                                               1. Deployed- Front                             1. Not Ejected                               1. Dead
                   8
                   'X                       2-B.    Passengers                     2. Shoulder Beit Only                                         2. Not Deployed                                 2. Partially EJoctod                         2. Serious Injtuy

              ..
                                            7.      Cargo Aroa                     3. Lap and Shoulder Belt                                      3. Unavailablo/Not Applicable                   3. Totally Ejected                           3. Minor/Possible Injury
         1         2     3                  8,      Riding/Hanging                 4. Child Restraint                                            4. Keyed Off                                                                                 4. No Apparent Injury
                         6                          On Outside                     5. Ilulmot                                                    5. Unknown                                      SUMMONS ISSUED AS                            G. No Injury (drivor only)
    8 A            5.        8                                                                                                                                                                                                                                                                                 t
                                            9-98, All Other                        6. Other                                                       6. Deployed- Side                              A RESULT OF CRASH
                   7                                Passengers                     7. BoostorSoat                                                7. Deployed- Other (Knoo,                       I. Yes                                                H

                   8
                                                                                   8. No Restraint Used
                                                                                   9, Not Applicable
                                                                                                                                                    Air Belt, etc.)
                                                                                                                                                 8. Deployed- Combination
                                                                                                                                                                                                 2. No
                                                                                                                                                                                                3. Pending                                         kt>i AVki ns. *1
    Invostigoiinu Officer                                                     jBadgo/Codo Number                                 Agancy/DepaThnent Name and Code                                                    Reviewing Officer                                     Report Filobato
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    MICHAEL ATKINS Case 7:15-cv-00665-GEC
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                                                                                                         Commonwealth of Virginia • Department of Motor Vehicles                                      j II;                                                            FR300P (Rev 1/12)

      Revised Report O
                                                                                                                                 Police Crash Report                                                                                            Page A                             of JL
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      CRASH                                                                                                                            3       !7                |4      6     9       41      5'     0                   17        9                    8 ! 1 i 0                 Q     1       5
      Crash            MM           DO               YVYY       Day of Woak              MIIJTARY Tinio (24 hr clock)                 County of Crash                                                           Official DMVUsq

           3,0 10/26/^.015 |                                    Monday                   05:15                                        BOTETOURT COUNTY
                                               City or Town Namo                                                                      Landmarks at Scene
       O City of                                                                                                                                                                                                153055221
       <3 Town of
      Location of Crash (routo/stroet)                                                                                                Railroad Crossing ID no (If within 150 ft.)                               Local Caso Number

      INTERSTATE 81                                                                                                                                                                                             DIV61 51 29246
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                                                             VEHICLE # j3                                                                           ¦                                                VEHICLE#
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    SHIFFLETT, ANTHONY, RAY                                                                                                                i/j CD                                                                                                                                      <&> O
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     VEHICLE                                                                                                                                                VEHICLE
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    CT, WWM? JNC
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      J Name of Injured (Lost, First, Middle)                                                    | FMS Transport j Date of Death                        i    Name of Injured ([as^Middie) "                                                              EMS Transport Dote of Death



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                                                POSITION IN/ON VEHICLE                 SAFETY EQUIPMENT USED                                 AIRBAG                                   EJECTED FROM VEHICLE                         INJURY TYPE
        Codes
                                                1.     Driver                          1. Lap Bolt Only                                      1. Deployed-' Front                      1. Not Ejoctod                               1. Dead
                       8
                                               2-0.    Passongors                      2. Shouldor Belt Only                                 2. Not Deployed                          2. Partially Ejoctod                         2. Serious Injury
                           S
                                               7.      Cargo Aroa                      3. Lap and Shoulder Bolt                              3. Unavailable/Not Applicable            3. Totally Ejoctod                           3. Mlnor/Possiblo Injury
        'T j 2                 3               8,      Riding/Hanging                  4. Child Restraint                                    4. Koycd Off                                                                          4. No Apparent Injury

     . lk i                        8
                                                       On Outsidu
                                               9-98, AllOthor
                                                                                       5. Helmet
                                                                                       6. Other
                                                                                                                                             5. Unknown
                                                                                                                                             0. Deployed -Side
                                                                                                                                                                                      SUMMDNS ISSUED AS
                                                                                                                                                                                      A RESULT OF CRASH
                                                                                                                                                                                                                                   6. No Injury (driver only)

                       7                                                                                                                     7. Deployed -Other (Knee,
                                                       Passongors                      7. Booster Sout                                                                                1. Yes
                                                                                       8. No Restraint Usod                                     Air Bolt, etc.)                       2. No
                       8                                                               9. Not Applicable                                     8, Deployed - Combination                3. Pending

    Investigating Officer                                                        Badge/Code Number                               Aguncy/nupurtmontNumo and Code                                        Reviewing Officer                                           Report File Date

         Case
    MICHAEL    7:15-cv-00665-GEC
            ATKINS            8363 Document VIRGINIA
                                            143-7 STATE
                                                     Filed 11/02/16
                                                           POLICE   Page Timothy
                                                                         27 of 82    Pageid#:10/26/2015
                                                                                 Knight        3210
     v Qfficbr Initials MA                           Badge# 8363                                         Commonwealth of Virginia • Department of Motor Vehicles                                                                                                                FR300P (Rev 1/12)
                                                                                                                      Police Crash Report                                                                                          !
                                                                                                                                                                                                                                                                Page 3                of 7
         Revised Report O                                                                                                                                                                                         0     r    0          ?        e

         CRASH
     Crash                    Tviivi iiii WW      MILITARY Timo (?4 lit clock) (County of Crash                                                           CD Citvof                                                                    Local Cass Number

                                                                                                                                                          £"">               Town of
                         10/24/20)5                 05:15                                BOTETOURT COUNTY                                                                                                                                        DIV61 5129246

         DRIVER INFORMATION                                                                                                                           I           VEHICLE INFORMATION
                                                                                                                                                                                                                                                      Vah
                          Voh                                                            Vah                                                                  Vah             Voh
                         2                                                      1         2                                                                   .1J 2                                                                         .1 1 2
                                                                                                                                                                                                                                            T-tt~ TT~f~ '.'•i i?vi »i.y|                HUE 5

     fjw^wf-briver's ActionlHH                                      P1                           Driver Vision Obscured P3                                        II/A         Mil        h" I     Maneuver                 V1               ha           n/a    Vehicle Damage                 V4
     CD ?                         1- No Improper Action                    V?) V"                1. Not Obscured                                                                       1. Going Straight Ahead                              C ) C                 1. Unknown
     (                            2. Exceeded Speed Limit                  •: ..         CD 2. Rain, Snow, etc. on Windshield                                                          2. Making Right Turn                                  C        (. 1 2. Nodamago
     (3                           3. Exceeded Safe Spood                   ( .. ' •      (... ) 3. Windshield Otherwise Ob scurBd                             CD C   3. Making Left Turn                                                    (...) (              3, Overturned
                                    But Net Speed Limit                    (        )    (..) 4, Vision Obscured by Load on                                   (.3 CD 4. Making U-Turn                                                       CD (... 1 4. Motor
     (3 '                         4. Ovortaking On Hill                                            Vehicle                                                    CD ( ... ) 5. Slowing or Stopping                                             CD CD 5. Undercarriage
     <                   O 5, Overtaking On Curve                          ( ) (...) 5. Trees, Crops, etc.                                                                             6, Merging Into Truffle Lone                         O ? 6. Totaled
     (...) (3 6. Overtaking at Intersection                                O (3 6. Building                                                                   <3 C ) 7. Starting From Parkod Position                                       CD C 7. Flro
     •. )                         7. Improper Passing of School Bus        (3 < .. .) 7. Embankment                                                           ( 3 c> 8. Stopped in Traffic Lane                                             ?) C - 8. Other
     ("3 C3 8. Cutting In                                                  (3 <3 8. Sign or Signboard                                                         O CD 9. Ran Off Road -Right
     CD C ) 9, Other Improper Passing                                      ("3 O 9. Hillcrest                                                                 < 3 (3 10. Ran Off Road -Left
     (           ) (., 1 10. Wrong Side of Road-                           f I ) C .) 10. Parkod Vohlclo(s)                                                   O C > 11. Parked                                                                   /a        -     Vehicle Condition              V5
                                      Not Overtaking                       CD (... ) 11. Moving Vohlclo(s)                                                    (3 C3 12. Backing
                                                                                                                                                                                                                                             V?)                  1. No Defects
     CD (_.                       11. Did Not Have Right-Df-Wuy            ( . .)        C ) 1 2. Sun or Headlight Olaro                                      (...) (...) 13. Passing
                                                                                                                                                                                                                                            CD CD 2, Lights Defoctive
     (...) CD 12. Following Too Close                                      O O 13. Other                                                                      < , > C . ) 14. Changing Lanes
                                                                                                                                                                              r1—"V                                                         CD C3 3. Brakes Defective
     ». ... ! ; (.                13. Fail to Signal or Improper Signal    CD ( 14. Blind Spot                                                                ?                        15. Other
                                                                                                                                                                                                                                            CD ( ...) 4. Stooring Dofoctivo
     '           > ( 3 14. Improper 'lurn-Wldo Right Turn                  O C) 15, Smoke/Dust                                                                ( ...                    16. Entering Street From Parking Lot
                                                                                                                                                                                                                                            CD CD 5. Puncture/Blowout
     (3 O 15. Impropor Turn-                                               o c                   16. Stopped Vehicle(s)                                                                                                                     CD C 6. Worn or Slick Tiros
                                     Cut Corner on Loft Turn
                                                                                                                                                          ¦              ¦                                                                                        ^' Motor Trouble
                                  16. Improper Turn From Wrong Lane
                                                                          ipj'ntrr...                                                                                                  Skidding Tire/Mark                   V2               <        ¦          8. Chains In Use
     CD CD 17. Other Improper Turn
     <• ...» C > 18, Improper Backing
                                                                          a              .h/a;

                                                                                                   Distractions
                                                                                                                                           P4                                          1. Bofore Application of Brakes                                           9. Other
                                                                                                                                                                                                                                                                  10, Vehicle Altered
                                                                                                                             W '('.J. -•         u.                           %/       2. After Application of Brakes
                 )        (.      1 9. Improper Start From Parked
                                                                           < ...)                1. Looking at Roadside Incident                              ( '..) (...              3, Before and After Application of Brakes             CD CD 11. Mirrors Defective
                                      Position
                                                                            ; D          C. .    2. Driver Fatigue                                            %/              CD 4. No Visible Skid Mark/Tiro Mark                                                12. Power Train Defective
                                  20. Disregarded Officer or Flagger
                                                                            (       ."> (.. ) 3. Looking at Scenery                                                                                                                          (.. .) <             13, Suspension Defective
     (...„.}              1       21. Disregarded Traffic Signal
                                                                            03 (3 4. Passenger(s)                                                                                                                                                                 14. Windows/Windshield Defective
     (...)                      ) 22. Disregarded Stop or Yield Sign
                                                                            ("3 C D 5. Radio/CD, etc.
     (           1        '       23. Driver Distraction                                                                                                      m
                                                                                                                                                                                       mVehicle
                                                                                                                                                                                          L* 1 da
                                                                                                                                                                                                Body t
                                                                                                                                                                                                     Type 11HBBI
                                                                                                                                                                                                             V3                                                 ' 15-
                                                                                                                                                                                                                                                                  ,e. Wipers
                                                                                                                                                                                                                                                                      wh„l» Defective
                                                                                                                                                                                                                                                                             Dsfsct»0
                                                                                                 6. Cell Phone
     (. ..) (...) 24. Fail to Stop at Through High                                                                                                            (3 (. .. ) 1, Passenger car
                                                                            CD' CD 7. Eyes Not on Road                                                                                                                                       ( D C 1 17. Exhaust System
                                     way- No Sign                                                                                                                                      2, Truck -Pick-up/PasBengor Truck
                                                                            (3 (...) 0. Daydreaming
     (...)                (...) 25. Drive Through Work Zoiib                                                                                                  (...) CD 3. Van
                                                                                                 9. Eating/Drinking
     1. '..') C 1 26. Fail to Sot Out Flaros or Rags                                                                                                          O C. 1 4. Truck -Single Unit Truck (2-Axles)
                                                                                                 10. Adjusting Vehicle Controls                                                                                                             hk             /V special Function                  V6
     ( . ...              (       27. Fail to Dim Headlights                                                                                                  ( ....1                ) 7. Motor Home, Recreational Vehicle
                                                                           O <3 11. Other                                                                                                                                                                         Motor Vehicle
     CD C                         28. Driving Without Lights                                                                                                  (              1 C       8. Special Vehicle -Oversized
                                                                           O    12, Navigation Device
     (1 1                C 1 29. Impropor Parking Location                  > 3 (3 13. Texting                                                                                           Vehicle/Earthmover/Road Eiquipmant                  l/' (/ 1. No Special Function
     ( )' > (. . ) 30. Avoiding Pedestrian                                                                                                                    (.3 CD 9. Bicycle                                                              CD CD 2, Taxi
                                                                            J#           I#      14. No Driver Distraction
                                  31. Avoiding Oihor Vehicle                                                                                                  ¦CD CD 10. Moped                                                              o c                  3. School Bus (Public or Private)

     <0 CD 32. Avoiding Animal                                             ElD Drinking                                                    P5                 (...) (                  H.MotorcyclB                                          CD O 4. Transit Bus
     < . ) C. ) 33. Crowded Off Highway                                                          1, Had Not Baen Drinking
                                                                                                                                                              '¦-_)                    12. Emergency Vehicle                                  3                  5. Intercity Bus
     0 C                          34. Hit and Run                          <3                    2. Drinking -Obviously Drunk                                                             (Regardless of Vehicle Typo)                       ( D> C              6. Charter Bus
     1 3 C                        35. Car Ran Away - No Driver              <        )   (...) 3. Drinking -Ability Im paired                                 (" ) (                   13. Bus -School Bus                                   O ( 1 7. Other Bus
         "               1        36. Blinded by Headlights                         ...) (.. ) 4. Drinking -Ability Not Impaired                              (3 C.                    14. Bus -City Transit Bus/ Prlvatoly                  (...) (.           1 8. Military
     ?                   CD 37. Other                                      ( 3 C ) 5. Drinking - Not Known Whether                                                                        Ownod Church Bus                                   CD C 1 9. Police
                                  38. Avoiding Object in Roadway                                   Impaired                                                                            15. Bus -Commercial Bus                                                  ' 10, Ambulance

     O CD 39. Eluding Police                                               <3 CD 6. Unknown                                                                   CD'                      16. Other (Scootor, Go-cart, Hearse,                  C D CD 11. Fire Truck
.!
     (                            40. Fail to Maintain Propar Control                                                                                                                      Bookmobile, Golf CaiT, etc.                       CD CD 12. Tow Truck
     (...) ( ) 41. Improper Passing                                                                      ...                                                  ( . ..)                  18. Spocial Vohiclo— Farm Machinery                                        13. Maintenance
                               ) 42. Improper or Unsafe Lane Change         ^            ^       Metho|| of Alcohol                        P(5                           ) '.. .. ) 19. Special Vehicle -ATV                                 (3 C                 14. Unknown
                                  43. Over Correction                                                                                                         (,D CD 21. Spocial Vehicle- Low-Speed Vehicle
                                                                                                 Determination (by police)
                                                                                                                                                                                     . 22. Truck- Sport Utility Vohicle (SUV)                          ;
     I'D                      ID Condition of Driver                P2                           1. Blood                                                     0 CD 23. "Thick- Single Unit Truck                                             ? ? EMV in service                                 V7
             :       1
                                  Contributing to the Crash                                      2. Breath
                                                                                                                                                                                          (3 Axlos or Moro)                                                       1. Yes
     l/                  %/       1. No Dofects                             1       )            3. Rofusod
                                                                                                                                                              (,.) (. ) 20, Truck - Truck Tra ctor (Bobtail-No Trailer)                      r        r          2. No
     (I'D CD 2, Eyesight Defective                                         ( .. ) ( .            4. No Tost
                                  3, Hearing Defective
     CD (                         4, Other Body Defects
                                                                                                                                                                                                                                                                           7™'
     CD CD 5. Illness                                                                            Drug Use                              P7                                                                                                        m               Truck Cover                    V8
     CD C) 6, Fatigued
                                                                                                 1. Yes                                                                                                                                                           I.Yos
     (...) '....                  7. Apparently Asleep
                                                                           %/            4/      2. No                                                                                                                                      ?                    2.N0
     ( ...) <3 8. Other
     C.)
                             Case 7:15-cv-00665-GEC
                         (...) 9. Unknown
                                                (". ) C.D 3.Document
                                                             Unknown 143-7 Filed 11/02/16 Page 28 of 82 Pageid#: 3211
, Officer Initials MA                               Badoo # 8363                                      Commonwealth of Virginia • Department of Motor Vehicles                                                                                              FR300P (Rev 1/12)

    Revised Report O
                                                                                                                   Police Crash Report                                                                  ill                                  Page!                 of 7_
                                                                                                                                                                                                 0     ?      0    r       e

    CRASH
                                            ~r,-
 Crash               MM    i|j     m          MlLITARY Time (24 tir clock)      County of Crush                                        r         j     Ciiyot                                                     Local Cass Nuinbor
 Data
               10/2^/20)5                          05:15                               BOTETOURT COUNTY                                O Town of                                                                           DIV61 51 29246

    DRIVER INFORMATION                                                                                                               J | VEHICLE INFORMATION
                      7""" "
                    Veh                                                 Veh j Veh                                                                       Voh                                                                      Veh

 3J                                                                    »/K»nni J                                                                                                                                                                                             .     .   ...




               TTJTT KHB IBSns IffiBSRflEMflffiQBBBBEERDBEEi                                                                                                                                      m
                ¦m        Driver's Action                                                                                                       i/A      w/A Vehicle Maneuver                              VI          .(w/A . .Ti/rt'       Vehicle I amage                     V4
    iJ/A
                                                                PI       »                  ' Driver Vision 0hsouredP3
           f C            1. No Improper Action                         yD C                  t. Not Obscured                               ?                   ) 1. Going Straight Ahoad                              C .. ) C. 1 1. Unknown

'-..j C. j 2. Exceeded Speed Limit                                     v D 1Z                 2- Rain, Snow, etc. on Windshield             >. ..)                2. Making Right Turn                                 v    ) (...           2, No damage

(7) '      3. Excaodad Safo Speod                                       1 D C Z> 3. Windshield Otherwise Ob scurod                          ' . • (.              3. Making Left Turn                                  CD C 1 3. Ovorturnod
                               Out Not Speed Limit                      ' .3       C ) 4, vision Obscurod by Load on                        0 O 4. Making U-Turn                                                       CD C » 4. Motor
 <3 C 4. Ovortaklng On Hill                                                                     Vehicle                                     CD CD 9. Slowing or Stopping                                               C) O 5. Undorcarriago
 C)  .'"1 5. Overtaking On Curve                                        C (        C ) 5. Trees, Crops, etc.                                1           (         6, Merging Into Traffic Lqna                         %/) c 1 6, Totaled
C.D CD 6. Overtaking at Intersection                                   O C; ' 6. Building                                                   O CD 7. Starting From Parked Position                                      CD CD 7. Fire
                          7. Improper Pessing of School Bus            v.                     7. Embankment                                                       8. Stopped in Traffic Lana                           CD O 8. Other
C.) O 8. Cutting In                                                    CD          C. ) 8, Sign or Signboard                                < .. > (.) 9. Ran Off Road — Right
 1 .       •    (.        9, Other Improper Passing                    CD CD 9. Hillcrest                                                   CD () 10. Ran Off Road -Left
(...) (...) 10. Wrong Side of Road -                                   (. . )      (...) 10. Parked Vehicla(s)                              O C> 11. Parked                                                             i /A                 Vehicle Condition                   V5
                                 Not Overtaking                                    (.         11. Moving Vohicle(s)                         (...) O 12. Backing
                                                                                                                                                                                                                        ?                    1. No Defects
 1 ...)         ( ...) 11. Did Nat Have Right-of-Way                    <).)       (_         12. Sun or Headlight Glaru                    <7) O 13, Passing
                                                                                                                                                                                                                       ( ...) CD 2. Lights Dofoctlvo
(          )    (...) 12. Following Too Close                           CD CD 13. Other                                                     (...) C...            14. Changing Lanes
                                                                                                                                                                                                                       < ") ( ) 3. Brakes Dofeotlvi
                          13. Fail to Signal or Improper Signal        (._)        O 14. Blind Spot                                         < ZD O 15. Oilier
                                                                                                                                                                                                                       CD CD 4. Steering Dofective
CD (..} 14. Improper Turn "-Wide Right Turn                            O CD 15. Smoke/Dust                                                  (. . > (...) 18. Entering Street From Parking Lot
                                                                                                                                                                                                                        ) C 1 S. Puncture/Blowout
v .)             C. ) 15. Improper Turn -                              CD CD 16. Stopped Vohiclo(s)                                                                                                                    CD                    6, Worn or Slick Tires
                                 Cut Comer on Loft Turn
                                                                                                                                        •                        nu
                                                                                                                                                                                                                       CD            . ) 7. Motor Trouble
                          16. Improper Turn From Wrong Lane
                                                                                                                                                w        W. Skidding Tire/Mark                             V2          (.7) 'CD 8. Chains In Use
CD CD 17. Other Improper Turn                                            N/rt              Cv Type of Driver                    P4          (...) C. ) 1. Before Application of Brakes                                 CD CD 9. Other
(.. .) CD 18. Improper Backing                                                                  Distractions
                                                                                                                                            %/          C         2. After Application of Brakes                       (...) C ' 10. Vehicle Altered
(          )    C         19. Improper Start From Parked
                                                                       C , .)               ) 1, Looking at Roadside Incident               (                     3. Baforo and After Application of Brakes            C. '              1 11. Mirrors Defective
                                 Position
                                                                               ) CD 2. Driver Fatigue                                       <         > C. . ) 4. No Visible Skid Mark/Tlra Mark                       v'. / ¦           ¦ 12. Power Train Defective
<      .)       C         20. Disregarded Officer or Flagger
                                                                        1. .)      C .) 3. Looking at Scenery                                                                                                          CD CD 13. Suspension Defective
C )                       21. Disregarded Traffic Signal
                                                                       C .>        (... ) 4. Passenger(s)                                                                                                                                    14. Windows/Windshield Detective
(. ..)           •        22. Disregarded Stop or Yield Sign
                                                                       CD CD 5. Radio/CD, etc.                                                                                                                         CD C                  15, Wipers Detective
( , .)          C. .      23. Driver Distraction                                                                                                            1     Vehicle Body Type                        V3
                                                                       CD CD G. Cell Phone                                                                                                                             C       1 '           18. Wheels Defective
                          24. Fail to Stop at Through High                                                                                  ("D C-> 1. Passenger car
                                                                       (. > C . ) 7. Eyes Not on Road                                                                                                                  CD 1                  17. Exhaust System
                               way - No Sign                                                                                                (.. > C               2. Truck -Pick-up/Passengor Truck
                                                                       ' .. )      1        > 8. Daydreaming
(...) (...) 25. Drive Through Work Zone                                                                                                     CD CD 3, Van
                                                                       CD CD 9. Eating/Drinking
CD C                      26. Fail to Set Out Flares or Flags                                                                               ?> (  4. Truck -Single Unit Truck (2-Axles)
                                                                                              10. Adjusting Vehicle Controls                                                                                                                                            7
(          '              27. Fail to Dim Huadlights                                                                                                    C         7. Motor Homo, Rooroatlonal Vehicle
                                                                                                                                                                                                                        r,'A                 Special Function                    V6
                                                                       CD O 11. Other
( D C > 28. Driving Without Lights                                                                                                                                                                                                           Motor Vehicle
                                                                                              12. Navigation Dovico                         < D C                 8. Special Vohlclo-Oversizod
CD CD 29. Improper Parking Location                                                                                                                                  Vohlclo/Eortlimovor/Read Equipment                l/ 1 C                1. No Special Function
                                                                        CD CD l3.Toxtlng
CD CD 30. Avoiding Pedestriiiii                                         l/                     14. No Driver Distraction                    <'D CD 9. Bicycle                                                          CD C ' 2. Taxi
                C         31. Avoiding Other Vehicle                                                                                        CD C 10. Moped                                                                               ¦ 3, School Bus (Public or Private)
                                                                         \ta       1, N/4     Drinki                           P5                                                                                      CD CD 4. Transit Bus
CD CD 32. Avoiding Animal                                                                                                                   1 ..) C               11. Motorcycle
O ( . ) 33. Crowded Off Highway                                        ? > O 1. Had Not Been Drinking                                                             12, Emergency Vehicle                                CD C ' 5. Intercity Bus
(...) C. ) 34. Hit and Run                                                                  ) 2. Drinking - Obviously Drunk                                           (Regardless of Vehicle Type)                     CD '                  6. Charter Bus
CD 1                      35. Car Ran Away- No Driver                  CD C                   3, Drinking- Ability Im paired                <         ) C         13. Bus — School Bus                                 (...) C               7. OthorBus
• .) C.                   36. Blinded by Headlights                    1 7 > ( 7 ) 4. Drinking - Ability Not Impaired                       '• .. ' C- ) 14. Bus - City Transit Bus/Privately                          CD C.                 8. Military
(...) O 37. Other                                                      CD '                   5. Drinking -Not Known Whother                                          Owned Church Bus                                 C > C                 9. Police
                1         3B. Avoiding Object in Roadway                                        Impaired                                                                                                               CD C                  10. Ambulance
                                                                                                                                            (...) C,              Iti. Bus -Commercial Bus
(. . .) C                 39. Eluding Police                           C ..) C.) G. Unknown                                                                     ) 1G. Other (Scooter, Go-cart, Hearso,                 ' ..) C               11. Fire Truck
( . . '         C . ) 40. Fail to Maintain Propor Control                                                                                                             Bookmobile, Golf Cart, etc.                      C ) (..               12. Tow Truck
(.)                       41. Improper Passing                                                                                              ;         1 (...) 18, Special Vehicle -Farm Machinery                      (...)             ' 13. Maintenance
                      J «.Wr.p.r»rUn.,I.L,n.Ct»™.                                      (      Method of Alcohol                Pli          (...) C               19, Special Vehicle -ATV                             ( ) C                 14. Unknown

                                                                                              Determination {by police)                               1 (..       21. Spacial Vdhicla- Low-Spaad Vohiclo
                                                                                                                                            <           (..'      22. Truck -Sport Utility Vehicle (SUV)
(ii/A                ii/\ Condition of Driver    P2                                           1. Blood
                          Contributing to the Crash                                           2. Breath
                                                                                                                                                      1 (".       23. Truck- Single Unit Truck                         ? ) mv in nervine                                         V7
                                                                                                                                                                      (3 Axles or More)                                                      1. Yes
|/              ( ' ) 1. No Defects                                    (.7) O 3, Refused
                                                                                                                                            (                     25. Truck -Truck Tractor (Bobtail-No Trailer)        O O 2. No
(.. . ) (                 2, Eyesight Defective                        (. .) C.'r 4. No Test
(                         3, Hearing DBfactive
C.D             C ... 4, Other Body Defects
                                                                                                                                                                                                                                     jr?rx                    rn?Mr.   r"vr^~rr:
C.D (. .') 5. Illness                                                    J/A
                                                                        O.UC.
                                                                                       w                                       P7                                                                                                            Truck Cover                         V8
CD O 6, Fatigued                                                                                                                                                                                                       ?                     ,1. Yos
                                                                       ' D C ) 1. Yes
C.)             ... ) /. Apparently Aslnop
                                                                   .   ?                      2. No                                                                                                                    CD O 2. No
C D CD 8. Other
                      Case 7:15-cv-00665-GEC
                                         <..) ; 3,Document
                                                   Unknown 143-7 Filed 11/02/16 Page 29 of 82 Pageid#: 3212
C. > O 9. Unknown
                                                                                     Commonwealth of Virginia • Department of Motor Vehicles                                                                         FR300P (Rev 1/12)
" Officer InitialsMA                    Badge # 8363
                                                                                                     Police Crash Report                                         o    ?     o    ?        c
                                                                                                                                                                                                   Page 5                  of _7
 Revised Report c i:>
   CRASH
Crash "mm mTvYYY                    M !WtYTiino(Z4hr clock) Countyof Crash                                          O city of                                                   Local Casp Number
Date
           10/2^/20)5                 05:15                             BOTETOURT COUNTY                            C3 Town of                                                            DIV61 51 29246


                                                                                                     CRASH INFORMATION
     nrr™ JiHSlgDmS ' X                                                                 ......
 ,
 Location of First Harmful                                 CI   Traffic Control Typo                           C5       Roadway Description                            C9          Intersection Type                               CI 2
 Event in Relation to Roadway                                   i'... .,)   1. No Traffic Control                                1. Two-Way, Not Divided                          %/          1. Not at Intersection
             l.OnRoudwuy                                        J ,) 2. Officer or Flagger                                       2. Two-Way, Divided,                              C > 2. TWo Approaches
 C .         2. Shouldor                                        O           3. Traffic Signal                                      Unprotected Median                              C          3. Throo Approachos
 C           3. Median                                          O           4. Stop Sign                                         3. Two-Wuy, Dividod, Positive                     (...)      1. Four Approaches

 O           4. Roadsldo                                        C)          5. Slow or Warning Sign                                Median Barrier                                  C )        5. Five-Point, or more

 O           5- Gore                                            Jjjjf.)     6, Traffic Lanes Marked                          >   4. Dno-Way, Not Divided                           C "i       6. Roundabout
       .     6. Separator                                       C )         7. No Passing Lines                         O 5- Unknown
                                                                                                                                                                                                       * VK-   *]1
             7. In Parking Lane or Zona                         O           8. Yield Sign
                                                                                                                                                                                   Work Zoob                                       C13
 C           8, Off Roadway, Location Unknown                   C, . )      9. One Way Road or Street
             9. Outside Right-of-Wav                            'O 10. Railroad Crossing With                                                                                                 I.Yos

                                                                               Markings and Signs                                                                                 %/) 2. No
                                                                                                                    T


                                                                C >         11. Railroad Crossing With                  Roadway Defects                               C10
                                                                                                                                                                                                      •r-i
                                                                                                                                                                                CT,sn?i                                '              ,
                                                                               Signals                                           1. No Defects                                     Work Zone                                       C14
                                                                C...        12. Railroad Crossing With                           2. Holes, Ruts, Bumps                             Workers Present
                                                                               Gate and Signals
HNMHMMWHNHMHHHHI                                                                                                                 3. Soft or Low Shoulder
 Weather Condition                                         C2                                                                                                                             >   1. With Law Enforcement
                                                                C > 13. Other                                            ' Z) 4. Under Repair
                                                                                                                                                                                     '    >   2. With No Law Enforcement
 %/          1, No Adverse Condition                             (     ">   14. Pedestrian Crosswalk
                                                                                                                        ¦JJ 5. Loose Material
                                                                '       1   15. Reduced Speed -School Zona
                                                                                                                                                                                     C.       3. No Workors Present
                (Clear/Cloudy)                                                                                                   6, Restricted Width
 (. . J.'    3. Fog                                                         16. Raducod Spood- Work Zone
                                                                                                                        O 7. Slick Pavement
 O           4, Mist                                            (.. >       17. Highway S afaty Corridor                 .       8. Roadway Obstructed                               Work Zone Location                            C15
 O           5, Rain                                                                                                    3        9. Other                                          C ' 1. Advance Warning Area
 O           9' Snow                                            ISHMMMffiWHNMHHH                                                 19, Edge Pavement Drop Off
                                                                 Roadway Alignment                             C6                                                                  C,.') 2. Transition Area
 O           7. Sloet/Hail                                                                                                                                                         O 3. Activity Area
                                                                h/'> 1. Straight- Lovol
 O           8. Smoke/Dust
                                                                                                                                                                                          >   4. Termination Area
                                                                 CJ         2. Curve - Level
 O           9. Other                     .
 (.. J       10. Blowing Sand, Soil,                             O 3. Grade -Straight
                                                                                                                                                                                                                           jzw&c     Effi
                                                                            4. Grade -Curve                                                                           _
                                                                                                                                                                                                                                   C16
                  Dirt, or Snow                                                                                         Relation to Roadway                           C11            Work Zone Typo
 <. >        11. Severe Crosswinds                              O 5. Hillcrest- Straight
                                                                 <. >       6. Hillcrest-Curve                          Interchange Area:                                            O 1. Lane Closure
                                                                                                                                 1. Muin-Llno Roadway                                O 2. Lane Shift/Crossover
                                                                 O 7. Dip- Straight.
                                                                                                                                 2. Acceleration/Decoloration Lanos                           3. Work on Shoulder or Median
                                                                            8. Dip-Curvo
                                                                                                                                 3. Gore Area (Batwean Ramp and                      J    >   4. Intermittent or Moving Work
                                                                 O 9. Other
                                                                 C .>       10. On/Off Ramp                                        Highway Edgelines)                                O 5. Other
                  —

                                                                                                                                 4. Calloctor/Distributor Road
 Light Conditions                                          C3
                                                                ISMHHHflHMMflMflMMRMHMRSS                                        5. On Entrance/Exit Ramp                            School Zone                                   C17
 O 1. Dawn                                                      Roadway Surface Condition C7
                                                                                                                                 6. Intersection at and of Ramp
 <3 2. Daylight                                                                                                                                                                               I.Yos
                                                                ?           1. Dry                                               7. Other location not llstod abovo
                                                                                                                                                                                     C.)      2. Yes - With School Activity
 O 3- Dusk                                                       C Z) 2. Wot                                                       within an interchange arse
             4. Darkness-Road Lighted                                                                                                                                             $/> 3. No
                                                                 C, 3       3. Snowy                                               (median, shoulder and roadside)
             5. Darkness -Road Not Lighted                       o          4. icy
 C. J 6. Darkness -Unknown                                       O          5. Muddy                                                                                                 Typo of Collision                             C18
                                                                                                                        Intersection Area:
                Road Lighting                                    O          6. Oil/Other Fluids                         %/) 8, Non-lntersaction                                    O 1. Rear End
 CJ>         7. Unknown                                          O 7. Other                                                      9. Within Intersection                            (/> 2. Anglu
                                                                 O 8. Natural Debris                                             10. Intorsuclion-Related - Within 150'
                                                                                                                                                                                   C'J 3. Head On
                                                                 C. ":i 9. Water (Standing, Moving)                              11. Intersection-Related - Outside 150'             C. )     4. Sideswipe - Same Direction
                                                                 i.         10. Slush                      1
                                                                                                                                                                                     C        5. Sideswipe - Opposite Direction
                                                                 (          11. Sand, Dirt, Gravel                      Other Location:
                          STY7 1;. t\\)' MM4TOT SZM ''OT
                                                                                                                                                                                     o 6. Fixed Object in Road
                                                           C4                                                                    12. Crossover Related                               O 7. Train
 Traffic Control
                                                                 Roadway Surface Typo                          C8                13. Drlvoway, Alloy-Accoss - Related                (.. .)   8. Non-Collision
 Device
                                                                                                                                 14. Railway Grade Crossing
 i/'" I.Yos -Working                                                        1. Concrete                                                                                              O 9. Fixed Object- Off Road
                                                                                                                                 15. Other Crossing (Crossings for
                                                                %/) 2. Blacktop, Asphalt,                                                                                            O 10. Door
 CJ' 2. Yes - Working and Obscured                                                                                                  Blkos, School, otc.)
             3. Yes -Not Working                                              Bituminous                                                                                             O 11. Other Animal
                                                                                                                                                                                     (...)    12, f'odestrlan
 c           4. Yos- Not Working end Obscured                    C Z)       3. Brick or Block
                                                                                                                                                                                     C        13. Bicyclist
 J.)         5. Yes -Missing                                     C ) 4. Slag, Gravel, Stono
                                                                                                                                                                                     '    )   14. Motorcyclist
 t'j         6, No Traffic Control Device Present                CZ) 5, Dirt
                                                                                                                                                                                     <¦„ )    15. Backod Into
                                                                            8. Othor
                                                                                                                                                                                     (...)    16. Other
               Case 7:15-cv-00665-GEC Document 143-7 Filed 11/02/16 Page 30 of 82 Pageid#: 3213
„ Officer initials MA                     Badge 4 8363                                 Commonwealth of Virginia • Department of Motor Vehicles                                                                 FR300P (Rev 1/12)
                                                                                                        Police Crash Report
 Revised Report Q                                                                                                                                                    T" rT"'?""?                     Page.®              of J
     CRASH
 Crash     MM III) YYYY                 MILITARY nine (24 hr clock)     County of Crush                                                                                           Local Casa Number
                                                                                                                           O City Of
 Dato
         10/2^6/2015                    05:15                            BOTETOURT COUNTY                                  C,7> Town of                                             DIV61 51 29246


                                                                                                            CRASH DIAGRAM
                                                                                                                                                                                                                                   2        i
                                  j                                                                                                                                                                                                         i


 Fill In Impact Area(s).                                                                                                                                                                                   Fill In Impact Aroa(s).
 Initial Impact.                                                                                                                                                                                           Initial Impact,
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Voh Dir of Travol-N/S/E/W                                                                                            ¦j/                                                                     -            Vah Dir of Travel -N/S/E/W


                                                         INTERSIATF, 81


 Fill In Impact Araa(s).
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 Initial Impact.                                                                                                                                                                                           Initial Impact.
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                                                                                                                                                                                                          Vah Dir of Travel-N/S/E/W
                                                                                                                                                                                                                                       o
     DAMAGE TO PROPERTY OTHER THAN VEHICLES
Approx. Ropalr Cost Obioct Struck (TYoa, Fence, ate.)              Property Owners Namo (Last, First, Mldrlla)                                  Address (Stroat and Numbor)                                          VDOT Proporty


                                                                                                                                                                                                                      CS (Ni?
     CRASH DESCRIPTION
     VEHICLE 1 WAS IN THE REST AREA. VEHICLE 2 AND VEHICLE 3 WAS TRAVELING SOUTH ON INTERSTATE 81. VEHICLE 1 EXITED THE REST AREA IN THE WRONG
     DIRECTION. VEHICLE 1 STRUCK VEHICLE 2. VEHICLE 3 THEN STRUCK VEHICLE 2.




     CRASH EVENTS
      Vehicle #        First Event        Second Event      Third Event         Fourth Event     Most Harmful Event             Vehicle #   First Evant      Second Event      Third Evant      Fourth Event    Most Harmful Event

 1                     20                                                                        20                         2               20               20                30                               20

      Vohiclo #        Flrst Evont        Second Event      Third Event         Fourth Event     Most Harmful Event             Vehicle # I First Event      Second Event      Third Event      Fourth Event    Most Harmful Evont

3                      20                 30                2                                    20


First Harmful Evont            COLLISION WITH FIXED OBJECT                                          COLLISION WITH PERSON, MOTOR VEHICLE                                NON-COLLISION
of llnliro Crash that          1. Bank Or Ledge                     10. Other                       OR NON-FIXED OBJECT                                                 28. Ron Off Road             35, Cross Median
Results In First Injury        2. Trans                             11. Jersey Wall                 19. Pedestrian                  24. Work Zone                       29. Jack Knlfo               30. Cross Centerlinu
or DamoBu.
                               3. Utility Polo                      12. Building/Structuro         20. Motor Vohiclo In Transport      Maintenance Equipment            30. Overturn (Rollover)      37. Equipment Failure (Tiro, otc|
20                                                                  13. Curb
                               4. Fenco Or Post                                                    21. Train                        25. Other Movable Object            31. Downhill Runaway         30, Immersion
                               5. Guard Rail                        14. Ditch                      22. Bloyclu                      26. Unknown Movable Object          32. Cargo Loss or Shift      39, Foil/Jumped From Vehicle
                               G. Parked Vohiclo                    15. Other Fixed Object         23. Animal                       27. Othar                           33. Explosion or Fire        40, Thrown or Falling 0b|oet
                               7. Tunnel, Bridge, Underpass, lb. Other Traffic Barrier                                                                                  34. Separation of Units      41. Non-Collision Unknown
                                 Culvert, otc,                      17. Irafflc Sign Support          42. Other Non-Collision
             Case 8.7:15-cv-00665-GEC
                     Sign, Traffic Signal 18. Mailbox Document 143-7 Filed 11/02/16 Page 31 of 82 Pageid#:      3214
                               9. Impact Cushioning Device
„ Officer Initials MA                   Badge it 8363                                    Commonwealth of Virginia * Department of Motor Vohiclos                                                                                             FR300P (Rev 1/12)
                                                                                                                 Police Crash Report                                                                                                                  Ofl
 Revised Report o                                                                                                                                                                       r           TJ-Jl                                I
  CRASH
 Crash     ivuvl   iu "Yvv         MILITARY Time <24 hr clock)           County of Crash                                                                                                                   Local Cusb Numbui
                                                                                                                                       O Cityot
 Doto                                                                                                                                    "5   Town of
                                                                           BOTETOURT COUNTY                                                                                                                DIV61 51 29246


                                                                                         COMMERCIAL MOTOR VEHICLE SECTION
                                                                                       This form is being completed because the vehicle is;
        0) A Truck or Truck Combination Rating Greater                                          O Any Motor Vehicle That Seats                                                C> A Vehicle of Any Type with a Hazardous Materials
              Than 10,000 lbs. (GVWR/GCWR)                                                                 9 or More People, Including the Driver                                  Placard Regardless of Weight

                                                                                                                 AND The crash resulted in:
      A fatality: any person(s) killed in or outside of any                                                      An injury: any person(s) injured as a                                                A tow-away: any motor vehicle (truck,
      vehicle (truck, bus, car, etc.) involved in the crash or                             OR                    result of the crash who immediately                            OR                    bus, car, etc.) disabled as a result of the
      who dies within 30 days of the crash as a result of                                                        receives medical treatment away from                                                 crash and transported away from the
      an injury sustained in tho crash                                                                           the crash scene                                                                      scene by a tow truck or other vohicle


                                                """'bffi®
           VEHICLE#                         1                                                                                                                             wmSmm
                       Of                                   Ksngtf


                                                                                       V10           Cargo Body Type                                                              vn          License P8                         Commercial                      P9
  ( ... -1 1. Passenger Car (Only if Vehicle Has Hazardous Materials Placard)                        G> 1. Bus (Seats 9-15 People,               g io. Grain/chips/Grovoi                     Class                              Endorsement
  G' 2. Light Truck (Only if Vehicle Has Hazardous Materials Placard)                                              Including Drivar)             G        11. Paia-Trtiilar                   <0 Class A                         '   1   T-DoublaTrailar
  C, J 1 3. Bus (Soots 9-15 Paoplo, Including Driver)                                                O 2. Bus (Soats For 10 Paoplo or                     12- VehiclB Towing Another          O                                 CD P-Possengor Vohicle
                                                                                                                                                                                                            Class B
                                                                                                                   Moro, Including Driver)
  G 4. Bus (SeBts for 10 People or Mora, Including Drivar)                                                                                                   Motor Vohiclo
                                                                                                                                                                                              C..J Class C                      O N-Tank Vehicle
                                                                                                     '•          3. Van/Enclosod Box             V,..^    13. Intermodal Contoinar
          5. Single Unit Truck (2 Axles, B Tiros)                                                                                                                                             O Class DRL                        CD H- Raquirad To Bo
  G' 6. Singlo Unit Truck 13 or More Axles)                                                          CD 4. Cargo Tank                                        Chassis                                        (rogular                         Placarded for
  0' 7,TruckTrallar(s) [Slnglu-Unlt Truck Pulling Troiler(s)]                                        O 6. Flatbed                                O' 14. Logging                                             drivers                          Hazardous Materials
                                                                                                                                                                                                            license)
  CD 8, Truck Tractor (Bobtail)                                                                             '    6, Dump                         CD 15. Other Cargo Body                                                        O X-CombinadTank/HAZMAT
                                                                                                     ( ... > 7. Concrete Mixer                               (Not Listed Above)               CJ Class M
 O 9. Tractor/Somi-trailer (Ona Trailer)                                                                                                                                                                                        <0 0-0lhei
  O 10. Tractor/Qoublos (Two Trailers)                                                               O 8. Auto Transporter                       1        16. Not Applicable/

  L       11. Other Truck Greater Than 10,000 lbs. (Not Listed Above)
                                                                                                     G> 9. Garbage/Refuse                                   No Cargo Body                      6VWR/ VI 2 .                              1.10,000 lbs. or Less
                                                                                                                                                                                               GCWR                       'ill O 2. 10,001-26,000 lbs.
                                                                                                                                                                                                                            I (0 3. Greater Than 26,000 lbs.
  Hazardous Material
  Huzardous Material Placard: <Y> (0
                                                                                                                                                                                                      HM Cargo Prasant                       HM Cargo Released
      HM4-Digit |         ||       ||       J         |      HM Placard Name                                                                                        HM Class
                                                                                                                                                                                 ??                          CD <0                                cd m
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                                                                                                                                                                                                                            [:>|pr «              :
  Carrier Identification                                                                                                                                                                                                                              rcial V13
  Commercial Motor Carrier Name                                                                           Address (P.O. Box If No Street Address)                                       "0 1. Intorstato Carrier
      S.M.C. TRANSPORT                                                                                     2309 LARGO STREET                                                            '. . 't           2. Intrastate Carrier
  Carrier's ID Number                                                      Stato llntroatolo Only)        City                                           State    | Zip                 O 3. Not in Commurce-Govurnmont (Trucks and Buses)
      us DOT#         2        4        3         5       8.7        9      0                              WESLACO                                      j TX J 78596                    O                 4. Not in Commorcc-Other Truck (Over 10,000 lbs.)



           VEHICLE#                         3

  Vehicle Configuration                                                                vio           Cargo Body Type                                                              VII         License pb                         Commercial                      P9
  G1 l, Passonger Car (Only if Vehicle Has Hazardous Materials Placard)                              O 1. Bus (Seats 3-15 People,                1        10, Groln/Chlps/Gravol
                                                                                                                                                                                              Class                              Endorsement
  G'1 2. Light Truck (Only if Vohiclo Has Hazardous Materials Placard)                                             Including Drivor)             CD 11. Pole-Trailer                          O Class A                          <       T-Doublo Trailer
  C.      3. Bus (Seats 9-15 People, Including Driver)                                               CJ 2. Bus (Seats For 16 Pooplo or           Q> 12, VnhiclB Towing Another                0>
                                                                                                                                                                                                .     1     Class B             CD P-Passanger Vehicle
  CD 4. Bus (Soots for 16 People or Mora, Including Drivor)                                                Moro, Including Driver)                      Motor Vehicle
                                                                                                                                                                                              L¦ . *        Class C              O        N-Tank Vehicle
  0' 5. Singlo Unit Truck (2 Axles, 6 Tires)                                                         ''0 3. Van/Enclosod Box                     .        13, Intormodol Containor
                                                                                                                                                                                              CD Class DRL                       O        H-Roquirod To Be
                                                                                                     C...T 4. Cargo Tank                                     Chassis
       '' G, Single Unit Truck (3 or Moro Axles)                                                                                                                                                            (regular                         Placarded for
  O 7. Truck Trailer(s) [Singln-Unit Truck Pulling Trailar(s)]                                       O 5. Flatbed                                Y .      14. Logging                                       drivers                          Hazardous Matnrial s
                                                                                                            1    6, Dump                                                                                    license)
                                                                                                                                                 '        15, Other Cargo Body                                                   CD X- Combined Tank/HAZMAT
 CD B. Truck Tractor (Bobtail)
                                                                                                     C,.> 7. Concrata Mixor                                  (Not Llstod Above)               CD Class M
 CD 9. Tractor/Somhtrailor (One Trailer)                         .                                                                                                                                                               <0 O-Other
                                                                                                     C .J 8. Auto Transporter                    G        16. Not Applicable/
 C.D 10. Tractor/Doubles (Two Trailers)
          11. Other Truck Gronter Than 10,000 lbs. [Not Listed Abovo)
                                                                                                     O 9. Garbage/Roluso                                    No Cargo Body                      GVWR/ VI 2 <-J 1. 10,000 lbs. dr Loss
                                                                                                                                                                                               GCWR                             '0 2. 10.001-2C.00Q lbs.
                                                                                                                                                                                                                                (.       3. GreaterThan 26,000 lbs.
  Hazardous Material
  Hazardous Material Placard: (T) {0)
                                                                                                                                                                                                      HM Cargo Prasant                       HM Cargo Released
      HM4-Digit |         ||       ||                        HM Placard Name                                                                                      | HM Class
                                                                                                                                                                                                             CD (0                                <V) <0

  Carrier Identification                                                                                                                                                                Commercial/Non-Commercial vi3
  Commercial Motor Carrier Namo                                                                           Address (P.O. Box if No Street Addross)                                           0 1, Interstate Carrier
      CTVVWM INC                                                                                          PO BOX 174                                                                        ..... '       2. Intrastate Carrier
  Carrier's ID Number                                                      State (Intrastoto Only)        City                                           State     Zip
                                                                                                                                                                                        -D 3. Not in Commorco-Government (Trucks and Busas)
           Case3 7:15-cv-00665-GEC
      us DOT#     8 5 ! Q Q j 7 j 0 | 0 : Document
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                                                 IVY 143-7 Filed 11/02/16
                                                                     VA    Page 32 of. ' 82
                                                                          22945          4. Not inPageid#:        3215
                                                                                                  Commerce-Other Truck (Over 10,000 lbs.)
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                                                                                                                            Commonwealth of Virginia ° Department of Motor Vehicles                                                                                                                 (Rov -1/9/1 2)

                       Revised Report                 <7?                                                                                          Police Crash Report                                                                                 0707A
                                                                                                                                                                                                                                                       o      7       o T        a"          Page           (L                  of       5
                                                                                                                                                                                                                                                            GP.
                      CRASH
                      Crush     MM          DO             YYYY            Day ol WooK .                      MILITARY Tlmo (24 hr clock) Courtly of Crash
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                      Dl" iQUUdClll jf&L                                                                       05 if
                      O city of
                      O Town of
                      LucuJIon of Crash (route/street)                                                                                               Rullr'end Crossing "iDno. (If wilhTn 130 fi,j                                                         Local Cubu Numbor
                      A:SJ                                                                                                                                                I        I I        I               I                                              t>l v&ISIAf
                                                              &                                               N         8        E      W            Loonllon of Crash (roule/streot)                                                                      Mile Marker Numbor                               Numbor of Vehicles
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                     l                                                     VEHICLE# ^                                                   * ' "'         1•            —
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                 VEHICLE                                                                                                                                                               VEHICLE
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              Vehicle Owner's Nome (Last. First, Mlddlo)                                                                               Seme as Driver                                 "yeHlde OwnaPs Name (Last, First, Middle) " '
3                     < (Ac                  Trt                                                          Llc
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3               Address (Street and Numbor)
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\ '             Vohiclo Plate Number,                                                                     Slate              Approxlmnto Ropalr Cost
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               PASSENGER (only If Injured or killed)                                                                                                                                  PASSENGER (only If Injured or killed)
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               | Noma of Injured (Leal, First Mlddlo)                                                              EMS Transport!             Dale of Death                   ! :i Name of Injursd (Last First, Mlddlo)                                                                      EMS Transport              Date or Deaill
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                                                                                                                                                                                        Position                          safoty              Alrbrrg      | Ejected ' Injury Type;            Blrihdata         ' '        '        Gender
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          v 1 "Name of Tnjuradli.nsti'First, Middle)                                                               m ffnnswf- DafeofBoaih ~~j                             f            Name of Iniurao "(Last; Flrsf, Middle) ""                                                          j EMS franeport ' Dato of Daaih


          L! r«iilon
          [wl In/On
                                          "Safoty ""1 AirTarrtloclod'Tinj^tyjie biE^'
                                          Equip
                                                                                                                                                       Gender  ^                       Position                           Safoty              Alrhag
                                                                                                                                                                                                                                                           r—


                                                                                                                                                                                                                                                            Ejected ! injury Type              Blrtlidolo                            Geridur
                                                                                                                                                                                       m/On                               Equip
          iUghteto                        Usotf
                                                                                                                  BiJifiijrfi...                                                       Vehicle                            Usod
          ^n&"^TnPfSaiLo7r^lrel, Mtddte]"                                                                 """ IKfSTro'nspoftT'bote of Baafh"                                           Name of Injured (Lost, FlrH, Mlddiej                        '                                   ' j lms Transport               Dale of bbiitn "

               ¦ men                  fTaW                    Ai-ba-g " "Ifected] Iriju'ry fype
                                                                                                                       CX.J C'.f..' j |,)M
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                                                                                                                                                    00 i
                                                                                                                                                     Gender .
                                                                                                                                                              YY          i "pmiiion
                                                                                                                                                                          !       ,                                     Snfoty
          .'     In/On
                                                                                                                                                                                                                                             Alrbag        EJnclr.d     Injury Typo
                                          Equip .
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                 Velilclo                 Usod

                                                 POSITION IN/ON VEHICLE
                                                                                                                                                                          i1           Vohlcia
                                                                                                                                                                                                                  .
                                                                                                                                                                                                                        Used
                                                                                                                                                                                                                       ~™ "
                                                                                                                                                                                                                                                                                           f1M   [.Iff . TT( _
                Codes                                                                              SAFETY EQUIPMENT USED                                  AIRBAG                                                          EJECTED FROM VEHICLE                        INJURY TYPE
                                                 1,    Driver
                           B                                                                       1. Lap Belt Only                                       1, Deployed - Front                                             1, Not Ejected                              1. Dead
                                                 2-6,      Passongeri;                             2. ShotJldor Bolt Only                              2, NotDoployod                                 .                   l, Partially Ejected                        2. Serious Injury
                                                 7.        Cargo Area                              3. Lop and Shoulder Belt                               3, Unavallable/NolAppllcablo                                    3, Totally Ejected                          3, Minor/Possible Injury
                  1                           0,           Rldlng'Hanglng                          4. Child Restraint
                         Ml                                On Outside                              5. Helmet
                                                                                                                                                       4, Keyed Off                                                                                                   4, No Apparent Injury
                                                                                                                                                                                                                                                                      6. No injury (driver only)
          8      4                    8                                                                                                                5, Unknown                                                         SUMMONS ISSUED AS
                                              0-98.       All Other                                6. Other                                            B. Onploynd - Ride
                          7                                                                                                                                                                                             A RESULT OF CRASH
                                                           Passengers                              7. Booster Soot                                     7, Deployed - Oilier (Knot),                                       1, Yes

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                                             0, No Restraint Used
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                         -8-


                                                                  Air Belt, etc.)        2, No
                                             9. Not Applicable                                                                                         8 Deployed - Combination                                         3, Ponding

      [   Investigating Offionr                                                             RnrlriArnnfl.. Mumtm'
                                                                                                                                                                    1-                                                                    T'—
                                                                                                                                                    JifelW.           mm            ms                   m                                                ijJI,                                                                                                 L


                                                                         SP-50(Rev 9/21/11)
                                                                                                                                                                      POLICE CRASH REPORT
                                                                                                                                                                                                                                                                                                                                       Page
                           CRASH
              : Crash Vifi". / ¦ «                                         MILITARY Time (24 firelock! County of Crash
                                                                                                                                                                                                                                                                                                                                                                    of
                                                                                                                                                                                                                                                                                                                                                                           %
                      Data
                                                                                                                                                                                                                      O C'«Y°f                                                                               J ioonl Case Number
                                                     wmuwl °m                                                                                    BoTeius/ij'                                                          O Town of
                                                                                                                                                                                                                                                                                                                                                            .



                 f driver information
                                                                                                                                                                                                    1 ( VEHICLE INFORMATION
              m                                                                                     . .
                                                                                                                            Vol.                 Veh

                                                                                                                                                       I
                                                                                                                                                                                                              ;V

                                                                                                                                                                                                                       UiA
                                                                                                                                                                                                                                    Veh
                                                                                                                                                                                                                                                                                                                      Veh ; Veh

                                                     7 7 Driver's Action
                                                     ' f 'f 1. No Improper Action
                                                                                                    PI                                                     Driver Vision Obscured P3
                                                                                                                                                       1. Not Obscured
                                                                                                                                                                                                                  r

                                                                                                                                                                                                                                            Vehicle Maneuver                                   viESLVehic
                                                                                                                                                                                                                                                                                       VI ] i ' '    mm        . ge
                                                                                                                                                                                                                                                                                                          le Dama                                                                     V4
                                                                                                                                                                                                                            1                  Going Straight Ahead
                                                          2 Excnndetl Spoed LJfrtit                                                                                                                                                                                                                                                        ,     1. Unknown
                                                                                                                        A                    O 2 Rain, Snow, otc. on Windshield                                                     .
                                                          3. Exceeded SaJo Spued                                                                                                                                                            2 Making Right Hint
                                                                                                                                    .'       1     . 3. Windshield Otherwise Obscured                     I
                                                                                                                                                                                                                                                                                                                                        C ,".J .2 No damage
                                                                                                                                                                                                                                            3. Making loft Turn
                                                             But Not Spuod Limit                                                                                                                                                                                                                                                       3. Overturned
                                                                                                                                             O 4. Vision Obscured by Load on                                                                4, Making U-Tum
                                                 0 4. Overtaking On Hill                                                                                                                                                                                                                                                           . O 4, Motor
                                                                                                                                                            Vehicle
                                                 •        Ev Overtaking On Gurve                                                                                                                                        1                   5. Slowing or Stopping
                                                                                                                    C7 O 5, frees, Crops, etc.                                                                                                                                                                                                  B- Undsrcarriflga
                                                 1        Gv Overtaking atlntorsocilon                                                                                                                                          O 6. Merging Into Traffic Lano                                                                  " <;/) 6, Totaled
                      .:z                                                                                           ,                        O 6. Building
                                                                                                                                                                                                              ( . 1                      > 7. Starting Front Parked Position
              7.                                 1        7. Imprapor PaBiing 0! School Bus
                                                                                                                    0 C ' 7. EftibnnkmBiit                                                                                                                                                                                             £'1 7, Fire
              O                                          8. Cuffing In                                                                                                                                                                     8. Stopped in Troffic Lanu
                                                                                                                    7 c SLSignorSinnhoerd                                                                                                                                                                                              O 8. Other
              c:                             1           9. Other Impropnr Passing
                                                                                                                                                     9. Hillcrost
                                                                                                                                                                                                                                <          9. Ran Off Road "Right                                                     /
                                             1           10. Wrong Side of Boitd-                                                                                                                                               O 10. Ran Off Road -Left
                                                                                                                                '        <!          10. Parked Vehlcfo(s)
                                                             Not Overtaking
                                                                                                                                                                                                                                v.         11. Parked
                                                                                                                                                  J 11. Moving Vohiclnjs)                                                                                                                                                                      Vehicle Condition                      V5
                                                      .?¦ 11, Did Nctlfavn Rlght-of-Way                                                                                                                                         O" 12. Backing
                                                                                                                                         C7 12. Son or Headlight Glare                                                          \~J 13. Passing                                                                      /- J?.! 1, No Defocts
                                                      7 12. Following Top Close
1
                                                                                                                    '"7 O 13. Other                                                                                                                                                                                                    (' . t 2- Lights Dofectfva
                                            1. .         1 3. Fall to Signal or Iniprnpnr Signal
                                                                                                                                                                                                                                    7 14. Changing Lanes
                                                                                                                1               ¦' '             7 14. Blind Spot                                                                                                                                                .                     i."j 3, Brakes Defective
                                                       ' 1 4. Improper Turn -Wlila Right Tutn                                                                                                                               <.'. y 15. Other
                                                                                                                i                        C..        15. Smoke/Dust                                                                                                                                                   ' .           7 > 4. Steering Detecfivo
                                        1 "• 15. Improper Tum-                                                                                                                                                              C . '¦> 10. Entering Street From Parking Lot
                                                                                                                            ">           '          16: Stopped Vahiclois)                                                                                                                                                 ,'                  5, Puncturo/Biowout
                                                            Cut Corner an Lett Torn
                                                                                                                                                                                                                                                                                                                                   •           6, Worn or Slick Tires
                                        '               1 B. Improper Turn From Wrung Lumi ;
                                                                                                                                                                                                                                                                                                                               ¦ :             7. Motor Trouble
                                        O 17. Other Improper Toni                                                                                                                                        ){¦/
                                                                                                                                                                                                                                          Skidding Tire/Mark
                                                                                                            '                                      Type of Dtiv er                         P4
                                                                                                                                                                                                                                                                                  V2                                               l           8. Chains In Usa
                                                        1B, Improper Backing
                                                                                                                                                                                                                                        : 1. Bofaro Application of Brakes                                                 > C"> 9. Other
                                                        19, InipreporStart From Parked
                                                                                                                                                    Distractions
                                                                                                                                                                                                                         jr 2 After Application of urakos                                                                          " :> 10. Vehicle Alte rod
                                                                                                                                                   1. Looking at Roadside Incident
                                                           Position                                                                                                                                           .         • .. " > 3. Boforo nnd After Application el Brakas                                                                 11. Mirrors Defective
                                                                                                                                                   £ Driver Fatigue
                                                       20,01s regarded Officer or Flegger                                                                                                                                           ' '4. No VislblB Skid Mark/Tiro Mark                                                                   12. Power Train Dofeclivo
                                                                                                                        .                          3, Looking at Scenery
     ;                              -                  21. DisrogardBd Traffic Signal                   •
                                                                                                                        ' O 4, Passengor(s)                                                                                                                                                                   " , 7. ' 13. Suspension Dofectfva
                                                       22 Disregarded Stop or Yield Sign !
                                                                                                                          f :> 5. Radio/CD, otc.                                                                                                                                                           [ C >     ¦ 14. WJndaw^WinilshlBld Dofoctivu
                                    ; .                24. Foil to Stop nt Through High
                                                                                                                                    (             6, Cell Phone                                                          u               Vehicle Body Type                             I C.y C"l 15. Wipers Defoctlva                                                                  |
                                                          way -No Sign                                                                                                                                                                                                            V3
                                                                                                                        ' '' .7 7. Eyas Nut on Road                                                                    C . I.Pnssergercar                                                                   O ' 1 16. Wheels Defective
                                                       25, Drive Through Work Zone
                                                                                                            i                                                                                                                                                                                                                             r/.EjihnustSystiuii
                  .' O 26, Fall to Sot Out Flaros 01 Flags                                                                                        fl. Daydraamlng                                                                        Z Truck- Pick-up/Passenger Truck

                  ¦             ¦ ... 7 27. Fall to Dim Headlights                                                                  V 7 9, Eating/Drinking                                           i                 O 3-Vbii
                                1... 7 28. Driving Without Lights                                                   '               o 10. Adjusting Vohiclo Controls                            '    '                                  '4. Truck-Single UpH Track (2-Axfesl                       1
              'r C '.                                 29. Improper Parking Location                                                 C 7 11. Other                                                                      ' .. ' 7. Motor Horns, Recreational Vehicle
                                                                                                                                                                                                                                                                                                1            '                 >         S|)eciftl Function                      V6
     '                                                                                                  :           "                             12. Navigation Davlcn                                                                 8. Special Vehicle -Ovnrsknd                                                                     Motor Vehicle
                  ' (.I                               30. Avoiding Pedestrian                                                                                                                                                                                                                  .
     v ' ... "                 <.                ' 31, Avoiding Other Vohicln                                                                     13. Taxiing                               .                                             VfllilclBjEartbrriovBiAload fgulputeirt                                                        I. No Spocfal Function
                                                                                                    j                                            14 No Driver Distraction                                              L. ) 9, Ricyclo
              \
                                                      32. Avoiding Animal                                                                                                                                                                                                                                                      O 2 Taxi
                                                      33, Crowded Oh Highway                                                                                                                                                            1B.Mopod                                                                               < 7 3, School Bus (Public or Private!
                                                                                                                                                 Drinking                             P5
                           (                          34. Kit and Rue                                                                                                                                                                   11. Motorcycle                                                                                 1 4, Transit Bus
                                                                                                                                         > 1. Hud Not Been Drinking
                                35, Cor Ron Away -No Driver                                                                                                                                               '                             12 Emergency Vehicle                                                                             5, [otorclty Bus
                                                                                                    S c„)1                                       Z Drinking -Obviously Drunk
                                                                                                                                                                                                                                          (flognrdless of Vehicle Type)
                       C ' ;¦ ' 3D, Blinded by Headlights                                                                                                                                                                                                                                  ,                                   C        6. Charter Bus
                                                                                                                                ( .              3. Drinking- Ability Impaired
                           C_ 7 37. Other                                                                                                                                                                                           13. Hub.-ScIiodIBus                                !               .                                T.OthorBus
                                                                                                                                " '              A Drinking — Ahllify Not fmpalrad                                                                                                                                                                                                i
    ',                              '"> 38- Avoiding Object in Roadway                                                                                                                                                              14. Bus -City Transit Bus/Privatsfy                j                                                6. Military
                                                                                                                                                 E, Drlnkin g - Not Known WlieUior
                                                                                                                                                                                                                                          Owned Church Bus
    ,77 <77 39, Eluding Police                                                                                                                     Impolred
                                                                                                                                                                                                                                                                                                                          '¦            9. Police
                                                                                                ;
                                                                                                                                                                                                                  1     .') 15. Bus- Commercial flns                                                         ¦ : , " 10, Ambulanco
                                                     40. Fail to Maintain Proper Control
                                                                                                                                         ' 6. Unknown
                                                                                                                                                                                                                                    16. Other (Scooter, Go-cart Hnnrse,
                                                 '41. Improper Passing                                                                                                                                                                                                                                                                  II, Fire Track
                                                                                                                                                                                                                                          Bookmobile, Gait CBrt etc.                                                                    IZTewTYuck
                                                     42 Improper or Unsafe Lane dinngo
          .                                      43, Over Correction                                                                                                                                                        1 18, Special Vshlolo- Farm Machinery                                                     '¦ ..            13. MQintoriBitce
                                                                                                                                             Method of Alcohol!                      1*6                                        19. Special Vehtclo-ATV                                        ¦:                     .                14. Unknown
                                                                                                                                             Determination (by police)                                            ..      21. S|iac]al VoMote .'low-Spood Vflliicla
                                             Condition of Driver                      P2                                                     1. Blood                                                                   ; 2Z Truck - Sport Utility Vohlcle (SUYJ
                                                                                                                                                                         ....
                        Contributing to tho Crash '                                                                     .; '7 ZBreaffi                                                                                          23. Truck -Single Unit Truck
                                                                                                                                                                                                                                                                                                                                                                                           I

    J                 f I.NoDufocts                                                                                                                                                                                                                                                                              ,/ EMV in service                                       V7                    1
                                                                                                                            '                3. Refused                                                                                  (3 Axles or More)
,.7 C ¦ 2 Eyesight Dofnctivo                                                                                                                                                                                                                                                        p                            "...                  1. Yes
                                                                                                                                             4. No Test                         —                                               25. Truck •- Tmck Tractor |Hci1iill-Na Trallsij
     .        r ' 3. Roaring Defoctiva                                                                                                                                                                                                                                              i 1 . ' '¦ ¦ ,                                 2 no
                                            4, Other Body Dnfects
                                                                                            L
                                        5, Illness

                               . 6. Fatigued
                                                                                            .




                                                                                                                                             Drug Use                               P7
                                                                                                                                                                                                                                                                                                            j*. Truck Cover                                              V8
     "s                    *            7. Apparently Aslnap                                                                             I.Yas
                                                                                                                                                                                                                                                                                                             <                     I.Yes
                       ;                B other                                                                         A ZNo
                                        9. Unknown                                                                                  1 3, Unknown                 '                                                                                                                     /                                           2 No

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                                                                                                                                                                                                                                                                                                                                                                          ...J
                                                                                                                                                                                                                                                                                                                               mmsn                       mm                WM



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                       CRASH
                     Crash                   " W      MjUTARY Timo (24 hr clock) County ol CinRh
                     Dafo                                                                                                                                                                          O                                                                                 j Loeni Cosn Nuirifiw                     -
                                  IcijJltUoU                c>-*IJ                                                                                 1,
                                                                                                                                                                                                             Town of



                                                                                                                                                  CRASH INFORMATION
                                                                                                                                            8®$                                                             ......          ,     .     ....

                       Location of First Harmful                      CI                             Traffic Control Type                                     C5                                    Roadway Description                           C9                                          Intersection Type                                            C12
                       Event In Relation to Roadway
                                                                                                    |' "" 1. No Traffic Control                                                                                 1, Two-Way, Not Divided                                                                      1. Not at intersection
                       j/) 1. On Rnadway                                                            j<                  2. Officer or ftagger                      I                                C           2. Two-Way, Divided,                                                ] C '> Z Two Approaches
                       <_ )       2. Shoulder                                                                           3. Traffic Signal                                                                            Unprotected Median                                                                '     a.Throo ApproBuliBS
                       C.'i 3>Mndian                                                                 C                 4. Stop Sign                                                                / 3. TWo-Way, Divided, Positivo                                                            O 4, Four Approaches
                       C    4. Roadside                                                                                 5, Slow or War ning Sign                                                                     Modion Barrier                                                                          S, Fivo-Polnt, of mow
                       O S.Goro                                                                      Cjfc 0. Draffic Lanos Marked                                                                              <f. Ono-Way, Not Divided                                             | '.'J,}                 6, Roundabout
                                  6. Separator                                                                          7, No Passing Linos                                                        C? 5. Unknown
                       C'„!       7.1n Parking Luna or Zono                                         O 8. Yield Sign
                                  S. Off Roadway, Locution Unknown
                                                                                                    C „> 9; One Way Road or Stroot                                                                                                                                                        Work Zone                                                        C13          l
                     C 7 9. Outside Rlght-of-Way                                                    >.                 10. Railroad Crossing With                                                                                                                                                            I. Yes
                                                                                                                           Mayings and Signs                                                                                                                                                  / 2. No
                                                                                                              >        11. Railroud Crossing With                                                  Roadway Defects                              cio                                !...
                                                                                                                           Signals                                                         !
                                                                                                                                                                                             / 1. No Defects                                                                          Work Zone
                                                                                                                                                                                                                                                                                                                                              r "rtr .


                                                                                                j .
                                                                                                                                                                                                                                                                                                                                                           C14
                                                                                                                       1Z Railroad Crossing With
                                                                                                                                                                                           | O' 2, Holes, Ruts, Bumps                                                                 Workers Present
                                                                                                                           Gate and Signals                                                j                  3. Soft or Low Shoulder
                     Weather Condition                                C2
                                                                                                    C.                 mother                        .                                                                                                                                             >        I With Low Enforcnmont
                                 1. No Adverse Condition                                        I                                                                                          I 0 4. Under Repair
                                                                                                    -.1 "] 'y 14. Pedestrian Crosswalk                                                                                                                                                ft , "¦> Z With No low Enforcement
                                                                                                                                                                                                              5, Loose Material
                                    (Cloar/Clnudy)
                                                                                                                       15, Reduced Speed -School Zona                                                                                                                                         , ,•          3, No Workers Present
            j             "y 3. Fog                                                                                                                                                                O 6. Restricted Width
                                                                                                    C '¦               16. Reduced Speed -Work Zone                                    I >:                   7. Stick Pavomeut                                                                                                                                     J
            j O 4. Mist
                                                                                                    i j                17. Highway Safety Corridor                                                 O         0. Roadway Obstructed
                     C 5 S, Rain                                                                                                                                                                                                                                               | Work Zone Location                                                       CIS
                                 6, Snow
                                                                                                                                                                                       |                     9 Dilior                                                          j                            1. AdvanceWarning Area
                                                                                                    n              ¦
                                                                                                          ...     .
                                                                                                ; Roadway Alignment                                      CS                                                  10. Edge Pavement Drop OH
                     v.,'        7, Sleet/Hail                                                                                                                                                                                                                                 ! O Z Transition Area
                                 8, Smoko/Oust
                                                                                                    jjiv 1. Straight- Lbvo!                                                                                                                                                          '             •       2, Activity Area
                                 9. Oth or                                                  )•.                        Z Curve -Level                                                                                                                                                                      4, Termination Area
                           ?     10. Blowing Sand, Soil,                                    j O 3. Grade - Straight
                                    Dirt or Snow
                                                                                            IO 4.firado-Cervo
                                 ll.SovoroCrosswinds                                                                                                                                   } Relation to Roadway                                    Gil                            | Work Zone Type                                                           C16
                                                                                            i             ,.i          5. Hillcrost -Straight
                                                                                        j                          B. Hillcrost- Curve                                                             Interchange Area:                                          j                      O 1. lane Closure
                                                                                                    O              7. Dip -Straight                                                                C.T- 1. Main-Una Roadway                                   |                      C.J ZlanBShlfl/Crossovor
                                                                                                    O              0. Dip -Curve                                                                   i„ I      2 Accnloratlon^DecolerattQii Lanes                                               ,„T 3. Wotk on Shenldor or Median
                                                                                                    C'             9. OffiBr                                                                       O 3- Gi'0 Area {Dotween Ramp and                                                                •       4. Intermittent or Moving Work

                                                                                                    O              IO. On/Ott Ramp                                                                               Highway Edgelinos)                                                                        6. Other

                Light Conditions                                      C3                                                                                       i                                   C.        4. Collector/Distributor Rand
                                                                                                                                                                                                                                                                              I ,     ¦            ¦         ;.   ¦   ... t    •.     ¦   •   •
                                                                                   :                                                                                                                                                                                                                                                              ;   1


                                                                                                                                                                                   j                         5. On Entrance/Exit Hump
                O !% Dawn                                                                       Roadway Surface Condition                                Q7                                                                                                                   I School Zone                                                               C17
                                                                                                                                                                                   |                         6. Intersection at end of flump
                .1: Z Daylight
                                                                                            \/y I.Dry                                                                              j '",7 7. Other location not listed above                                                  I %                          I.Yoh
    !                           3. Dusk
                                                                                                         :¦       ZWot                                                                                                                                                               .¦.V;                 z Yos - With School Activity
                                                                                                                                                                                                                within en Interchange oroa
                , '.            4. Dorkness -Road lighted                                                                                                                                                                                                                            ,/ 3, No
                                                                                                          '       3. Snowy                                                                                      (modlnn, shoulder und roodslde}
                f. 5. Darknnss -Road Nut Lightod                                                                  4. Icy
                 .              6. Darkness -Unknown
                                                                                            • 'l                  S. Muddy                                                     i Intersection Area:
                                  Read Lighting
                                                                                                                                                                                                                                                          |                         Type of Collision                                                     C18
                                                                                                                  G.QiUOthorRuids                                              i ¦ ' ,,S 0. Non-Intersection
            •                  7- Unknown
                                                                                                                  7. Othor
                                                                                                                                                                                                                                                                          |                                1. Hear End
                                                                                                                                                                               ;                        .   9. Within Intorsnctlon
                                                                                                                                                                                                                                                                          i                                2, Anglo           ,.
                                                                                                                  8, Natural Dehris                                                                         10, Intorsoction-Relateil - Within 150'
                                                                                                                                                                                                                                                                          j                            Z Head On
                                                                                       j -7                       3. Water (Standing, Moving)                                                  i            11. Intorsoctfen-Reinled - Outside 150'
                                                                                                                                                                                                                                                                          !                    '       4. Sideswipe - Seme DirecUon
                                                                                       j ' ..•                    ID. Slush
                                                                                                                                                                                                                                                                                          .            5. SidoBwipo - Opposite Direction
                                                                                       j,'"                       11, Sand, Dirt, Grave!                                   J Other Location:
                                                                                                                                                                                                                                                                      j                                G. Rxod Olijool In Routl
                                                                                                                                                                              ' ') 1Z Crossover Related
            Traffic Contiol ,                                    C4                                                                                                                                                                                                   |                       ) 7. Train
.




            Device                                                                      Roadway Surface Type                                             C8
                                                                                                                                                                           ! • . ' 13. Driveway, Alley-Access -RDlatod                                II                                               Z Nod-Collisian
                                                                                                                                                                           j                                14, Railway Grade Grossing
                               1. Yes -Working                                 I        ' .,'                     1, Concrete                                                                                                                                         |                                ZFixodOhjoct-OftRDad
                                                                                                                                                                       j \                              ' 15,OtherCjdS3ing{Crosslngsfor
            : '                2. Yqe" Working and Ohscurod                            |^/> Z Blacktop, Asphalt,                                                       j                                         Bikes, Schoel, etc.)
                                                                                                                                                                                                                                                                  j                                    10. Door
        ' "?                   3, Yes -Not Working                           '                                     Bituminous                                                                                                                                     j '                                  It. OtherAnimal
        \ , . .> 4. Yes - Not Working and Obscured                         I | .                                3, Brick or Block                                                                                                                     |                             1 ") tZPodo8trlnn
                               5, Yos -Missing                             I           | . > 4. SJag, Gravel, Stone                                                    I                                                                              | i . . . • 1G. Backed Into                                                                               ;


        <            '>        B. No Traffic Control Devico Present        j                                    5, Dirt
                                                                                                                                                                                                                                                                  |                                    16. Othor
                                                                                        ,            )          6. Oilier                                                                                                                                                                                                                                       I                i



                                                                                                                                                                                                                                                                                                                                                                I



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 CRASH                                                                                                                                                                                  oca   i'C^ NumW.          . '
Crash' WilXi i V YV                j MIUTARYTima [24' he clooki County of Crssih                                              o «%«»
Dntu
         tQ\l6\k)ts\ Offj                                                BorCTovi-r-
                                                                                                                              (•" -i    Town of
                                                                                                                                                                                            £> ( L/-C tsJ
                                                                                                               CRASH DIAGRAM                                                                             I
                                                                                                                                                                                                             Vehicle#                   jT
 VEHICLE#                  X                                                                                                                                                                                                           I..T

                                                                                                                                                                                                              Fill In Impact Area(s|.
 FUB In Impact AreafsK
                                                                                                                    v/a                                                                                       Initial Impact, j'"*'1""]
 Initial Impact.
                            ii
                                                                                                                LW
                                                                                                                                   V3                                                                                                       >1
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Veil Dif oITravol-N/S/E/W


I VEHICLE#                                                                                                                \            Mb                                                                     VEHICLE#                               : < &•

                                                                                                                                                                                                              Fill In Impact Aroa(s),
 fill In impact Aroa(s),
                                                                                                                                                                                                              Initial Impact j"'
 Initial Impact \ "7"1
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 Voh Dirol Travol-N/S/E/W
                                                                                                               ?3     *-p                                                                                    Veh Dir of rravol-N/S/E/W




      DAMAGE TO PROPERTY OTHER THAN VEHICLES                                                                                                                                                                                  VDOT Property j
                                                                                                                                           -¦         (amIMS [Sifter and Ninftei)
     Appro*. Repair Cost j Object StracklTrw. Fence, ete.j j Property Owners Name Bast, First Middle)
                                                                                                                                                                                                                                                        I
       CRASH DESCRIPTION                                                                                                                                                            —i hi




       VI         urAS               i»/              Tkt Aar AH*.                                    VI £                Jl/1         y.Ai               CMimfS -                                 ^ 1 -5t
      V( Hwrm     rl">                                        AtV. ««                             rM y*&z£. ^v, .Vi                                                 SOlVM .Vds, . i/?
      J&sgd   i/<k


       CRASH EVENTS
                                                                                                                                        Vehicle#      first Event    Second Evnnt    Third Event    fourth Event        Host Harmful Evont '
 ;       VotiiclD*         first Event        Second Event   Third Event           Fourth Evnnt       Most Hamfol Event
 \ ' '                 :                  .   •   •   •                        I                  i

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            1 1 Xo                       .1                                                                                                                             A
                                                                                                                                        Vehicla#      First Event    Second Event    Third Event    Fourth Event        Most Harmful Event
         Vehicle#          first Event        Second Event   Third Even!           Fourth Event       Most Haimful Event

            X                Xo ;                     itf        3d
                                                                                                        coiiisiON wrrH person, motor vehicle                                   NON-COLLISION
 ' First Harmful Evont" 1 COLLISION WITH FIXED OBJECT                                                                                                                         28. Ran Off Road           35, Cross Median
 j of Ernie Crash ifiat $          1. Bank OrLedQS                  10. Oilier                          ORNON-RXED OBJECT
 i Resulti In firat Injury \ 2, Ttoos                               11. Jersey Wall                                                         24. Work Zone                     29. Jack Knife             36, Cross Conlerline
                                                                                                        ]Ql Pedestrian
     or Damage,                   3. Utility Polo                   12. Building/Structure              20. Motor Vehicle In Transport           Maintnnence Equipment         30. Overturn (Rollover)   37, Equipment Failure (Tiro, etc)
                                  4. Fence Or Post                  13. Curb                                                                25. Oilier Movable Object          31. Downhill Runaway      36. Immersion
                                                                                                        21 Train
                                  5. Guard Rail                 14. Ditch                               2? Bicycle                          26. Unknown Movable Object         32. Cargo Loss or Shirt   39. Fell/Jumped IfomVeiticlB
                                  6. Perked Vehicle             1£0lhor fixed Object                    23. Animal                            27. Other                        33. Explosion or Fire     49. Thrown or Falling Object
                                  7. Tunnel, Bridge, Underpins, 16. Olltor Tralllc Barrier                                                                                    34. Separation of Units    41, Non-Collision Unknown

                                     Culvert, otc.              17, IVaffic Sign Support                                                                                                                 42, Other NonCnlliaion
                                  3. Sign, Traffic Signal       16. Mailbox             •
                                   9, Impact Cushioning Oovico
                Case 7:15-cv-00665-GEC Document 143-7 Filed 11/02/16 Page 36 of 82 Pageid#: 3219
                                                        VJIk-JW             untai»   wjm      ttujv       mi     ipp       w        f*J   P5
                                WRECKER CALLED
                                                                                                      ,    VEHICLE STORED

    FIRM



    DATE CALLED;
                                       ¦TIME CALLED;


    REQUEST OWNER/OPERATOR;

                                                                                                                               jL

    IEARE8T    YES                NO




    'ITNESS NAME:                      f/jo nr* c
                                                                              WITNESS NAME:


    DDRESS:
                                                                             ADDRESS:


    >CATION;
                                                                             LOCATION:


    ATEMENT
                                                                             STATEMENT     U/VABLir        ro   <5CTf-     S/-A S'O'W/-
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                   Case 7:15-cv-00665-GEC Document 143-7 Filed 11/02/16 Page 37 of 82 Pageid#: 3220
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                                                                                    Vj                                                   NORTH
                                                                            T*S                                                        BY ARROW

                                                     INVESTIGATION DETAILS




DATE:                                              TIME NOTIFIED:             OJKo                            TIME OF ARRIVAL:        OSSA

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        Case 7:15-cv-00665-GEC Document 143-7 Filed 11/02/16 Page 38 of 82 Pageid#: 3221
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                                                                                                                                                                                                                                                                                                                                       (Rev 4/9/12)
                                                                                                                                 Commonwealth of Virginia * Department of Motor Vehicles

           Revised Report                  0>                                                                                                          Police Crash Report                                                                                                       0     7    0        ?     A                   Page                              of       °t
                                                                                                                                                              GPS Lai.                                                                                                               GPS Long,

          CRASH                                                                                                                                                                                                                                      jLJ
          Crash          MM        DL1            YYTY            Day ol Week                             MILITARY Time (2i nr clock) county oi Crash                                                                                                                                Ollinlol DMV USD
          Dale

                                                                                                                                                             lanclteafiis "S Hceriii '
          O City of
          cO Town°'
          Location of Crash (roufe/r.iraoij                                                                                                                  Railroad CroBBlno ID no. (if wftiiln 150 fl )                                                                           Local Case Number "


                                                                                                           N             S            E f W                  Location uf Crash (route/slroei)                                                                                        Mile Marker Number                                        jNumbnrofVohldos
          C3* At Intersection With or                             ? Miles ? Feel Q O QO,°(.                                                                                                                                                                                   .I I
                                                                   ¥t                                                                                                                                                                                                    v^VEHEOE;!#!                                            feiir                                                      ;
          DRIVER                                                                                                                                                                                  DRIVER                                                                                                                          Driver Fled Scone                      C3
                                                                                                         S '>?«««=«»                                                        '
                                                                                                                                                                            ondor                •bwoft'wsrw «?.«fWdic;r "                                                                                                                                         "        Gander
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      Confidential                                                                                                                                                              „._J                                  '•rr'-* A-'
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      City                                                                                                               (Stale                                                                  City                                                                                                                             I Stain              ZIP            ™"""
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 "sum it
                 2  ns
                                                                i..
                                            Sffonsns Charged to Driver
                                                                                 MM      | on | YYYV                                                               :>                                                       . J . i,   '   ;


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                                                                                                                                                                                                                                                                                           f/M            DD
                                                                                                                                                                                                                                                                                                                    J.XY.)       1 V                                  a:>c&
      Issued As
      Result of Crash                                                                                                                                                                          WLRes                    eh


      VEHICLE
 ••                           -
      Vehlnle Owners Nomo (Lost, f-'Irst, Mlddlo)
                                                    •    -                                                     WMMMfflmaJam                   Same as Driver
                                                                                                                                                                                                 vehicle
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      Vehicle Year                  ['Vnhicic'Mako                     IvSiOTo™                                                  Toiaoided ¦ " CMvT" Towed"                                      Vehicle Year                                      Vohiclo M iko                      .Vehicle Monoi                                          Disabled j CMV j Towed '
                                                                                                                                        oj^Lo                                                                                                                                                                                    """"
                                                                                                                                                                                                                                                                                                                                                   o              o            o
      VoMo Plato                                                                                           Slat                       Approximate Repair Cost                                    Vohiclo Plato Numbor                                                                                                Slate                   Approximate Repair Cost
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                                                                                                                                                           Ovorolzo                              VIN                                                                                                                                               ¦ Q'ovonE
                                                  ^312£SQ.khl                                                                                              Carflo Spill                                                                                                                          t                                                     ' i Carfl0SP'11 '
      Nnmyjjf Insuranco Company (not agent)                                                                                                    C> Ovcrrldo                                       Namo of Insurance Company (not agent)                                                                                                                 C'S Override '                   "
                                                                                                                                               O Citdorilde                                                                                                                                                                                         < '...I Undorrlrin
                                           IMmMkL
      Spued Before Craah                 Speed Limit     Maximum Safe Speed                                            ALL Pnsnongcrn Ago Count                                                  Speed Before Crash                                    Speed Limit Maximum Safe Speed                                          all Passengers Age Count
                                                                                                   Under                                                           Ovor                                                                                                                                    Under                                                           Ovor

             ...k>                                                                             n .                        8-17
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      PASSENGER (only if. injured or killed)                                                                                                                                                     PASSENGER (only if injured or killed)
          J Name of Injured (l.aal, First, Middle)                                                                     • EMS Transport j               Dnto of Donlh                   •               Name of Injured (Lest, First, Middle)                                                                                    j EMS Transport                  Dale of Death

                                                                                                             J                                                                             1 ¦                                                  .. .                            ^                , .                            1".                                      i)o;|;.vy.
v
 I'psass    In/On
                                  TTeleTy
                                   Equip
                                                         Atrbog         Ejoctod          Injury Typo                       airlhdulo                               Gender                              Position "
                                                                                                                                                                                                  . In/On
                                                                                                                                                                                                                                               Safety
                                                                                                                                                                                                                                               Equip
                                                                                                                                                                                                                                                                          } Alrbag •: Fjoctod {injury Type                            iirtiidoto                          Oemtei;
>•;) Vohiclo              _ _ USL'd„ _                                                                                  MM { OP j YYYY                         CD CD                           . J .yflhiciD .                                                                                                                 , . ™ :,H.lv£L
                                                                                           ;                   : . -gMrf(-—j-                         -"Dijio of Death
j;J [' Name                                                                                                                                                                                         • Name of iniurod (Last. Pir.it; Mlddio)                                                                   •                ' EMS frnnnpo-t' . Unto of booth

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                                                                                                                             CD CD MM DD | YY -.i_             ...uuiVu. u. .r..i               I                                                                                                                                      Q..A f-D I                      j i 111 i YY.
 iTcisliton                        Safety                Alrbafj        Ejuctod          Injury Typo                       l3lrtncioto                             Condor                         . Position                           " Safety                               At,beg : Ejected Injury Type                            Bi.thdaie                           Gencor
            In/On                  Equip                                                                                                                                                         , In/On                                       Equip
      ^ Vehicle                    Ur.od
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PpimeOT^W^feMie)'                                                                                                       'M§T«napo7ty DafoofDooiii                                      K         ; Name of irijurbd (Laet, First, Mtddlo)                                       '                                          • I EMS Transport | DaloofDcnlh                          "

                                                                                                                             CD CD j mm                        dd | vv
      I
                                   Safely                Alr'bag j Ejected j lnju'ry fype                                 "lifthdale""                             Gender
                                                                                                                                                                                           88..
                                                                                                                                                                                            ^ Position                        ."••• '«                                  TWWolH" 'injury Typo t                                        sirthdatc                           fi"
 Yf-Position
 •         In/On                   Equip                                                                                                                                                               In/On                                   Equip
 t I Vohiclo                       Used                                                                                i.Mlli'£i...T.Y.v,Y..                  .CD CD                   ; ;i Vehicle                                            Used                                                                                                                      mm
                                           POSITION IN/ON VEHICLE                                      SAFETY EQUIPMENT USED                                        AIRBAG                                                                     EJECTED FROM VEHICLE                                  INJURY TYPE
           Codes
                                           1,    fJrlvor                                               1. Lap Belt Only                                                 I   Deployed - Front                                                   1       Not Pjor.lod                                  1   Dead
                    B
                                           2-6.     Passengers                                         2. Shoulder Belt Only                                        2, Not Deployed                                                            2, Partially Ejected                                  2   Serious Injury

                                           7.       Cargo Area                                         3. Lap and Shoulder Sail                                      3, Unnvullable/Nol Applicable                                             3. Totally Ejected                                    3 Minor/Possible Injury

                                           8,       Pldlng/Hnnglng                                                                                                                                                                                                                                   4   No Apparent Injury
                                                                                                       4. Child Restraint                                           4, Keyed Off
             1
                    iU                              On Outside                                         5. Helmet                                                    8, Unknown.                                                                SUMMONS ISSUED AS
                                                                                                                                                                                                                                                                                                     6   No Injury (driver only)
 0 ±                UJ. 0                  0-88.    AllOlhor                                           6. Other                                                     0. Deployed - Side                                                         A RESULT OF CRASH
                    7                                                                                                                                                                                                                          1. Yos
                                                    Passengers                                         7. Booster Seat                                              7. Deployed - Olher (Knee,
                                                                                        2. No
                 Case
                 "8   7:15-cv-00665-GEC8. No Document
                                             Restraint Usod
                                                            143-7           Filed¦ 11/02/16
                                                                 Air Boll, olc.)
                                                              H, Deployed - Combination
                                                                                              Page 39 of 82 Pageid#: 3222
                                                                                                       9. Not Applicable                                                                                                                       3.      Pending


 Irivestlgajlng Olllcor .                                                                 Dadye/Codp Number                                          S Aqancy/Department Name and Code                                                                                    i |—!~I-J M ~1                                                                                                    1
                                                                                                                                                                                                                                                                                ij               •rj             1



                                               SP-50(Rev 9/21/11)                                                         POLICE CRASH REPORT                                                                                                                     Page £ of —
    CRASH
Crash MM 00 vfvi                                   MjUTARYtimii (24 br clock) Jfiounty of Crash                                                           o
                                                                                                                                                                                                                                             LdcbI Case Number

                                                                                                                                                          r       ;.i Town of

t io 'oM'j/ mi                                                                                                                                                                                                                                   oi i/Cirixuve.
     DRIVER INFORMATION                                                                                                                                VEHICLE INFORMATION                                             ............




    Veh ; Vflh                                                                  |va:.voh                                                              v^i, Veh        r

                                                                                                                                                  L2I                                                         ,         „                    y^rts! :i; •;
                                                                                                                                                                                                                                                  ¦                                     ;r,:?r           Tie1;   « ;   r.t.V.r


                                   Driver's Action                     PI            f                   Driver Vision Obscured P3;                       1                    ;      Vehicle Maneuver                           VI                                            \ Vehicle Damage                          V4

y/ (                               1. No ImproperAction                                      7 ' 1. Not Obscured                                          j/>                       '¦ 1- Going Straight Ahead                                   (.               i                  1. Unknown

    77.                        7.7 2 Exceeded Speed Limit                                    7           2 Rein, Snow, ate. on Windshield         '                                    2. Making Right Turn                                      i            " 7.7 2 Ne damage
                           <       3. Exceeded Safe Speed                                    7 i 3. WJndshiBld Otherwise Obscured                                         i           3. Making Lett Turn                                        ¦            "¦                  : 3. Overturned
                                      But Not Speed Limit                                    < J 4. Vision Obscured by Load on                                            (/) 4. Making U-Tum                                                                                        4. Motor

                           C       4. Overtaking On Hill                                                    Vohicfn                                                                   5. Slowing or Stepping                                                              C. > 5. Undercarriage
                           (,.',7 5. Overtaking On Curve                                                 5. TVoos. Crops, etc,                                .           '          ' 6. Merging into Traffic Lane                              i/ O 6. Totaled
              .                    6. Overtaking at Intersection                             '           6. Building             '                i I                     (.;¦ 7. Starting Frem Parked Posltfon                                           '               i" ''      7. Flro
                           k y 7. Imprepor Passing of School Bus                     > <77 7. fembankmnnt <                                                   7'1                     8. Stopped ill Truffle Lane                                O O 0. other
                                   II Cutting In                                             C'1 0- Sign or Signboard
                                                                                                                                                                          |
                                                                                                                                                                                    < 9, Ran Off Road "Right

                                 > 9. Ollior Improper Passing                        >                 > 9. Hlltcrest                                                                 10. Ren OH Road- Loft
                                                                                                                                                                                                                                                                      V77 r;

                                   ID. Wrong Side ol Read-                                               10. Parked VehlclB(s|                                                        11. Parked                                                 , • •>                    1         Veliicle Condition                  V5
                                                                                                       .< 11. Mrivinjj Vehicles)                                                      12 Racking
                                      Not Overtaking
                                                                                                                                                                                                                                                      / C.7 1. No Oofocta
                                                                                                                                                                                      13. Passing
                           O 11. Did Not Ifavs Right-of-Way                                              12, Sun or Headlight Glare                                                                                                                   '                   <7 2 lights Dofoctivo
                           7 .:-! 12 Fnllowiug Too Close                                                 13. Other                                        •77' 7 > 14. Changing Lanes                                                                                     i ;;:> 3, Brakes Oofoctivo
                           •       13. Fail to Signal or ImpraperSlgnal                                > 14. Dlind Spot                                           1                   15. Other                                                                   ' O 4. Steering Dofoctivo
                           7.7 14.lmpropBtTurn-WidB Right Turn                                         :< IE. Smoke/Dust                                                              16. Entering Streot From Paiking Lot j                 I                ' O 5. Puncture/Blowout
                           C..7 IS, Improper Turn-                                                       16. Stepped Vehiclefs)                                                                                                                                                      6. Worn or Slick Tiros
                                      Cut Corner en Left Tern
                                                                                                                                                                                                                                                                                     7. Motor Troublo
                           C. ,5 16, improper Turn From Wong Lane {L
                                                                                                                                                                                                                                      ...




                                                                                                                                                                               7 Skidding Tire/Mark                            V2                                                 > 8. Chains In Use
              ,                    17. OtherlmproporTiirn                                                Type of Driver                  PI           v                   V        \! 1 Bofore Application ot Brakus                                      . ' C.,7 9. Other
     77: O 18. Improper Backing                                                                          Distractions                                                     v.          2 After Applicution ofErukos                                                        O 10, Vehicle Altered
     7'.' 7 19. Improper Start: From Paikod                                                  (, > 1. Looking at Roadside in cident                                • >77 3. Bofore and Alter Application of Brakes                                             . : O 11, Mirrors Defective
                                      Position                              .                                                                                                                                                                                 .           77.< 12 Power Train Defectlva
                                                                                             7 .7 2 Driver Fatigue                                    <                   O 4. NoVislbfo Skid Mark/Tiro Mark
                           77 20.0isregurded Officer or Flaggor                                        ' 3, Looking at Scenery                                                                                                                                            </7 13. Suspension Defective
                           7„'< 21. Disrogeided Traffic Signal
                                                                                     '       (         ' 4. Passongor(s|                                                                                                                                                  o 14. Wi(idow3/WiridshiBld Defective
                           '     :• 71, Disregarded Stop or Vield Sign
                                                                                             '7..' 5. Radlo/CO, etc.                                                                                                                                                      C. l 15. Wipers Detective
          :                i.", "> 2.4, Fall to Step at Through High                                                                                                                  Vehicle Body Type                         V3
                                                                                             C e. Call Prions                                                                                                                                                 /                   '16. Wheels Detecflvo
                                      way- No Sign                                                                                            I                   1            ' ; i. Passenger car                                                       .                       4 17, Exhaust System
                                                                                                   " ' 7. Eyes Not on Road
          .            \7 2S. Drive Through Work Zone                                                                                         |< 7*                                '< ZTrtiek-Plek-pp/PassongorTyuck
                                                                                         '   i.        < It Daydreaming
                       77' 20. Fall to Set Out Flares or Flags                                                                                j o V 17 3, Van
                                                                                                  '"< 9. Eating/Drinking
      7 '77 27. Fall to Dim Headlights                                                       < 7' 10. Adjusting Vehicle Controls
                                                                                                                                              \jM C) 4.Tmck-SiiigIe UnitThick [2-AxiosJ                                                      '• SBS "
                                                                                                                                                                                      7. Meter Home, Becreutionul Velilclo                                                           Special Function                   V6
        <77 28. Driving Without Lights                                               ' 7,                11. Other                                                                                                                                                                   Motor Vehicle
                  < 77 29. Improper Parking Location                                                                                                                               . ,< 8, Special Vehicle - Oversized                                . ^
                                                                                     '                 1 12. Navigation Device
                                7 30, Avoiding Pprlostriiiii                                                                                                                            VcJiideiilBrtlinioVDrAtead Equipment                                          K~- 1. Ne SpBciul Function
                                                                                                       ) IffiTextlng                                                               - - -      -                                             ' * '• C • z Taxi
     7                            31. Avoiding Other Vehicle                                                                                                      ¦       O 9, Bicycle
                                                                                             <         '• 14, No Driver Distraction
                                                                                                                                                                          •: '> 10, Moped                                                                                            3. Sfiheol Bus (Public <ir Private)
                                 > 32 Avoiding Animal
                                                                                                         Drinking                        P5                                                                                                                           ; ,7 4,Trans!tflus
                       O 33, Crowded OR Highway                                                                                                                           i.f , 11. Motorcycle
                                                                                                                                                                                                                                                                                     5. Intflicity Bus
      .                i         , 34, Kit and Run                                                       1. Had Net Been Drinking                                                     12, Emergency Vehicle
                                                                                                                                                                                         tflogardfess of Vohlcln Type)                                                               6. Charter Hue
                                   35, Car Ron Awoy- No Driver                               7„          2 Drinking- Obviously Drunk
                                                                                                                                                                                                                                                                      '        .. 7, Ottier Bus
                       :¦"> 36. Blinded by Headlights                                                  < 3. Drinking- Ability Impaired                                                13, Bus -School Bus

          ,            r > 37. Other                                                                   < 4, Drinking -Ability Not Impaired                                7           14. Bus -City Transit Bus/Privately                                             77 8. Military                                         i
                       s           38. Avoiding Object in Roadway                                        5. Drinklng-Not Known Whether                                                   Owned Church Bus                                                             v. .7 9. Police
                                                                                                                                              l
                                                                                                           Impaired                                                       77' 15. Bus - Commercial Bus                                                                7.             19, Ambulance
                       77 39. Eluding Police
                                                                                                                                                                          :   16. Other (Scooter, Go-curt, Htmrse, j                                                           ... 11. Fire Truck
                       :         , 40, Fnil to Maintain Proper Control                                   6. Unknown
                                                                                                                                                                                                                                                                                     12 Tew Truck
                  ¦ 7,"' 41. Improper Passing                                                                                                                                            Bookmobile, Gotl Curt, etc,

                                7 42 Improper or Unsafe Lanb Change                                                                                               1       \ .         m Spocja! Vehicle -Farm MachliiBiy                                              77 13. Maintenance
      .
                           .     ) 43. Ovet Correction                                                                                                                                19. Special Vohiclo-ATV                                                                  7 14, Unknown
                                                                                                         Method of Alcohol               PS
                                                                                                                                                                                     21. Special Voliiotfl -Low-Speed Vohlclo j •
                                                                                                         Determination (by police)
                                                                                                                                                          ' . ' . .< 22 Truck -Sport Utility Vehicle (SUV) j 1
                                  Condition of Driver     P2                    I'           C 7 1. Blood
                                  Contributing to the Crash                                            s 2 Brealii
                                                                                                                                                                                     23. Truck -Single Unit Truck                                     /                              EMV in service                    V7
                                                                                                                                                                                         {3 Axles or Moro}                                                                           1. Yes
                                                                                                   .     2 Refused
w                                 1. No Dofocts
                                  2 Eyesight Dofectivo                                       7 7< 4u No Test
                                                                                                                                                                                     25. Truck -Track Trader |B«MiIl-No Trailai) i                                                   2 NO


•' 7 (7                           3 Hearing Defective
                   7", > 4. Other Body Oefocts
.7                 <            ) 5, Illness                                                                                                                                                                                                                                         Tmck Cover                        V8
                                                                                                         Drug Use                        P7
777 v.7< 6. Fatiguod
7 .7
                      Case 7:15-cv-00665-GEC 1.Document
                   7, :• 7.AppBiontlyAsloop
                                               Yob      143-7 Filed 11/02/16 Page 40 of 82 Pageid#:
                                                                                             I.Yes
                                                                                                    3223
                                                                                                       < 2 No                                                                                                                                    •'.7 ' . 7 2 No
(                  1...77 ROIhor                                                                         a. Ilnknnriiil
                                                           SP-50(Rev 9/21/11)                                                                      POLICE CRASH REPORT                                                                                                                                Page__j2l_of %_
                         CRASH
                        CraalTH^ V:r/vV*'" MIUTAnV Time (21 hralock) County ol »                                                                                                                                                                                                   local. Case Number
                                                                                                                                                                                                        O &'<*<*
                        D"° 10 . j                             L~
                                                                                                                                                                                                                         Town ii



                                                                                                                                                            CRASH INFORMATION
                                                                                ay*®-"
                                                                                                                                                                                                    :
                         Location of First Harmful                                C1                                Traffic Control Type                                      C5                             Roadway Description                               C9                       Intersection Type                                              C12 ;
                         Event In Relation to Roadway                                          i k 'j 1. No Traffic Control                                                                                  '             1. Two-Way, Met Divided                                      O 1. Not at Intersection
                                                                                                                   I .-

                m                        1. On Roadway
                                         2. Shoulder
                                         3. Median
                                                                                               j
                                                                                               J O 3. Traffic Signal
                                                                                                                    O            Z Officer orHagger                                                      i",               2. TWo-Way, Divided,

                                                                                                                                                                                                                             Unprotected Median
                                                                                                                                                                                                                                                                                                      Z Two Approaches
                                                                                                                                                                                                                                                                                                      1 Three Approachos
                         v., ,¦*                                                                                                 4. Stop Sign                                                                ,1 > 3. Two-Way, Divided, Positive                                                       iFtiurApprooclios
                         O 4, Roadside                                                                               C ¦ 6'. Slow or Warning Sign                                                                            Median Barrier                                            (. ,'."J 5, five-Point or more
                         I.,,'!'.1 5, Gore                                                                         j C . "> fl. Traffic Lanes Marked                                                     •                4. OnoWuy. Not DIvidod                                       O & Ronndahout
                         O 6. Separator                                                                            : C ! ,>      7-Nq Passing Linos                                                                        S.iUnknowa
                         ; . ?'         7. In Parking Lane or Zone
                                                                                                                    O 8. Yield Sign
                                        8, Off Roadway, Location Unknown                                            C ' 1 9. One Way Road or Stroot                                                                                                                                    Work Zone                                                      0,3 u!
                                        9. Outside fllght-of-Woy
                                                                                                                    O 10. RuUrond Crossing With                                                                                                                                                      1.YOS

                                                                                                                                    Markings and Signs                                                                                                                                               ZNo

                                                                                                                    CV-         11. Railroad Crossfag With                                              Roadway Defeq ts                                      C10
                                                                                                               !                    Signals             '               /                   j". V 1, No Meets                                                                j Work Zone                                                              C14
                                                                                                                                IZRuHroad Crossing Willi                /                   J                             2. Holos, Rutsf Bumps
            !                       .                      v        •                                                                                                                                                                                                              Workers Prosont
                        Weather Condition
                                                                                                                                    Onto and Signals                /                                            *. 'I 3. Soft or Low Shoulder
                                                                                 c;
                                                    "•              -                                                           11 Other                       /                                        C. >              5. Under RBiTBir
                                                                                                                                                                                                                                                                                                     1, With Law Enforcement                                    |
            j                  :        1. No Adverse Condition                                                                                                                                                                                                                    <.               2. Willi Nb Law Enforcemont
                                                                                                                   C. ' K Podosfriap Crosswalk*                                                         c>                             lorial
            ;                             (Clear/Cloudy)                                                                                                                                                                                                                           ('}              3. No Workers Prosont
                                                                                                                          Reduced Spood - Softool Zone                                                                                                                                                                                                      -
                                                                                                                                                                                                         ,7 8. Postrictm Width
                        O 1 Fog                                                                                    C • 1A Roducad Speed — yvork Zone                                                    1T>               7. Slick Pavement
                        '¦3 4. Mist
                                                                                                                   | "I' i/.Vlfgliway Safely                irtor                                   /., > 8. Roariw/y Obstructed
            I O 5. Rain                                                                                                                                                                                                                                                            Work Zone Location                                                 C15
            I v.,.,.' 6. Snow
                                                                                                                                                                                 _ .1       M, . } g othe/                                                                         ¦' ."{> 1. Advance Warning Area
                                                                                                                                         ...        /
                                                                                                                                                                                            r ( >                         10. Edge Pavement Drop Off
            j •                         7. Sleot/Hall                                                              Roadway jutgnmem                                         C6                                                                                                     (               Z Transition Area
                    '                   8. Smoke/Dust                                                                       , I.StralgV^lWl                                                                                                                                        f               3. Activity Area
                                        B. Otfior                                                                               2, Curve- Level                                                                                                                                    i,              4, Termination Area
                                        10, Blowing Sand, Soft,                                                          ''     3, Grado- Straight
                                           Dirt, or Snow                                                                        4. Grade- Curve
                    ('                  H.SovoreCrosswlnds                                                                                                                                              Relation to Roadway                                   C11                  Work Zone Type                                                     C18
                                                                                           !                       O 5. HlllcrflSt-Straight
                                                                                                                                G lHIIcrest- Curvo                                                      Interchange Area;                                                          C'-- 1. Lane Closure
                                                                                                                     ' <        7. Dip -Straight                                                         " .i'i           1, Main-lino Roadway                                                     ZLanoShilVCrossover
                                                                                                                                                                                                                   ;;    Z Acceleration/Deceleration Lanes                         C               3, Work on Shoulder or Median
        I                                                                                                          O B. Dip -Curvo
                                                                                                                               9. Other                                                                            > 3, Gore Area {Between Ramp and                                C. y. j 4, intoimiftent or Moving Work
                                                                                                                               10. On/Off Ramp                                                                            .¦ Highway EdgelinnsJ                                    C"> 5. Other
                    Light Conditions                                             C3                                                                                                                              {.{'•   4. Collector/DiBtriButqr Rood
                                                                                                           p- • v v                                                                ,                                     S. On Entranco/Exit Ramp
                          .¦        I.Dawn                                                                     Roadway Surface Condition                                    C7 i                                                                                                   Scliool Zone                                                       C17
                                                                                                                                                                                                                                                                             ¦ •"•.'.r.'* '-S'r-'v >vw.;                      '• ••• •; •   ; \
                                                                                                           1
                                                                                                                                                                                                                         G. JnlBrBoclion Bt end of Ramp
    I                               Z Daylight                                                             I ' ... ^           1. Dry                                                                                                                                              O 1-Yes
                                                                                                                                                                                                        C".'. ¦" 1. Olfior location not listed above
    I                              3. Dusk                                                                                     ZWot                                                                                                                                               C.y Z Yes - With School Activity
                                                                                                                                                                                                                            wrthin an interciiange area
    J                         > 4, Darknoss -Road lighted                                                            ..."      3, Snowy                                                                                                                                           O 1 Mo
                                                                                                                                                                                                                            (median, shoulder and roadsldo)
    |                              5. Darknoss -Road Not Lighted                                                                                                                                                                                                    I
                                                                                                           !•¦                 4. Icy
    !                              fi. Darkness -Unknown                    .                                                                                                                                                                                                                   Vttt'ftTV'iS'SJfi'ftL..   .      , -,v
                                                                                                       |0 5. Muddy                                                                              Intersection Area:                                                                Typo of Collision                                                   C18
                                         Road Lighting
                                                                                                       \C > 6. Oil/OliiBr Fluids                                                                                         fl, Non-Interaoction
                .                  7. Unknown                                                                                                                                                                                                                               j '                   1. Rear End
                                                                                                       !                      7. Olhor                                                                                   9. Within Intorsoction
                                                                                                                                                                                                                                                                                  t' "j          Z Anglo
                                                                                                       k                      B. Natural Debris                                                 »'L                      10, Intoraectfan-Roloted - Within 150"
                                                                                                                                                                                                                                                                                  ¦I . '         a Head On
                                                                                                       |                      0. Water (Standing, Movlngl                                       < .>                     ft. IntornoctiDn-Relaled - Oulaido 150'
                                                                                                                                                                                                                                                                            ! O 4. Sideswipe - Same Direction
                                                                                                                              10. Slush
                                                                                                                                                                                                                                                                              1', . N 5, Sideswipe - Opposite Direction
                                                                                                       i;                ) 11. Sand, Dirt, Gravel                                               Other Location:
                                                                                                                                                                                                                                                                                                 6. Fixed Object in Road
                                                                                                                                                                                                                         1Z CrDSBOvnr Rnfatod
 Traffic Control                                                                C4                                                                                                                                                                                            f,"->              7. Train
{Device                                                                                                                                                                                         '..                      13, Driveway, Alloy-Accoss - Relutod
                                                                                                           Roadway Surface type                                         C8                                                                                                                       1 Non-Collision
                                                                                                                                                                                                -                        14, Railway Grade Crossing
j                        ) 1. Yes -Working                                                         I                          1. Concrete                                                                                15, Oilier Crossing (Crossings for
                                                                                                                                                                                                                                                                        j               ,        9, Fixed Object- Off Road

i '7                               2. yes- Working and Obscured                        I           i                          Z Blacktop, Aspftall,
                                                                                                                                                                                                                                                                              i             .    10, Deer
                                                                                                                                                                                                                            Bikes, Schonl.otc.J
I c > 3. Yes -Not Working                                                                                                       Bituminous                                                                                                                                                  1    11. Other Animal                                 '
                                                                                                                                                                                                                                                                              1,                 12, Pedeslrlun
j                                  4. Yes -Not Working and Obscured                                                           3, Brick or Block
j .                      :¦        S. Yes -Missing                      ,                                            .        4, Slag, Gravel, sto.no
                                                                                                                                                                                                                                                                             1 '                IS, Backed into
                                   6. Nn Traffic Control Device Present                                                                                                                                                                                                      f                  18. Olhor
                                                                                                                              5. Dirt
                                                                                                                              6, Olhor


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                                           Case 7:15-cv-00665-GEC Document 143-7 Filed 11/02/16 Page 41 of 82 Pageid#: 3224                                                                                                                                                                                                                                         ¦t
                                             SP-50(Rev 9/21/11)                                            POLICE CRASH REPORT                                                                             Page                      of

         CRASH
     Crash     f.-M              i1 f A"-         : MILJfARY Time        hr clock} County of Crush                                                                                                    Local Case Numbirr
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                                                                                                                            CRASH! DIAGRAM
         VEHICLE#                                                                                                                                                                                                              VEHICLE#                           'EPS
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     Voh DIr oi Travel-N/8/E/W
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     VEHICLE#                                                                                                                                                                                                              VEHICLE#
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         DAMAGE TO PROPERTY OTHER THAN VEHICLES
 | Appro* Repair Cool Diicctsttuiik iTri»,Fnnqo,ote.i I Property OwnoreMania Itost, Firm, Middle)                                                             : Address [filrwn and Humbert   '                                           VBDT Property

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         CRASH DESCRIPTION




         CRASH EVENTS                                                                         \                                  \
                                                                                                                                        I
                                                                                                                                              Vehicle#       First Event    Second Evnnt          Third Event i Fourth Event i Most Harmful Event

                                                   1                                                                                                    J                                                                        I
!,        Vehicle # First Evnnt                           Second Even!       Tlilrd Event Fourth Event         Most Harmful Event             Vehicle# First Event i Second Event , Third Evnnt ! Fourth Evorit j Must llnrmful Event
                             if!                                         T                                 i
 Flirt Huinhil Evont                       COLLISION WITH FIXEQ OBJECT                                          COlilSION WUH PERSON, MOTOR VEHICLE                                    N0N-CQLUS1DN
 nl Entire crash that ,                    1, Bank Or Ledge                      10. Other                      OR NON-HXEO OBJECT                                                     20. Rail Off Road            35. Cross Median
 Results ftt First Injury ;                2. Trees                              11. Jersey Wall                19, Pedeslrinn                    24. Work Zona
 orUamage.                                                                                                                                                                             29, Jack Knife               3G, Cross Cenleriine
                                       ;   3. Utility Pels                       12 Building/Structure          20, Motor Vehicle In Transport       Maintenance Equipment             30, Overturn (Mover)         37. Equipment Failure (Tire, ctcl
                                       I 4,FoncnOrPn*t                           13. curb                       21, Train                         2G. Cliior Movable Object            31, Downhill Runaway         33 Irnmorsioii
                                           5, Guard Ball                         14 Ditch                       22, Bicycle                       211 Unknown Movahta Object           32 Cargo Loss ur Shift       39 Fnll/Jumped From Vehicle
                                           6. Parked Vehicle                     Ifi, Olhor Hxed Object         23, Animal.                       27. Oder                             33 Explosion or fire         4D. Thrown or Falling Object
                                           7» Tunnel, Bridge, Undsrpast, 16. OlliarTrnliTc Barriet
                                                                                                                                                                                       34. Separation of Units      41. Non-Collision Unknown
                                             Culvert otc.                        17. Halite Sign Support
                                                                                                                                                                                                                    42 Qttror Non-Cottision
                                           8. Sfgn, Traffic Signal              IS, Mailbox
                                           9. Impact Cushioning Device


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     u                                                                            — 4-»
                                                                                               IffVK*
                          WKtCKLK CALLED
                                                                              VEHICLE STORED


 FIRM



 DATE CALLED:                      ¦TIME CALLED:



REQUEST OWNER/OPERATOR:



NEAREST:    YES               NO




WITNESS NAME:
                                                    WITNESS NAME:


ADDRESS:
                                                    ADDRESS:


LOCATION:
                                                    LOCATION:


— MAfir/VrC                             CfrU- ^     STATEMENT:

        Confidential                 fOYi)




TATEMENT OF OPERATOR NUMBER
                                                   STATEMENT OF OPERATOR NUMBER




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